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   EXHIBIT 5
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 Kathleen Courkamp, for herself and on behalf of other statutory beneficiaries vs Fisher‐Price, Inc. and
Mattel, Inc. Case number CV‐19‐02689‐GMS in the United States District Court for the District of Arizona




                                         a report prepared for


                                        Greenberg Traurig, LLP
                                       2101 L St. NW, Suite 1000
                                        Washington, DC. 20037


                                                   by

                                      Dorothy A. Drago, MA, MPH
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                                              May 7, 2021
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The following report is provided pursuant to Rule 26 of the Federal Rules of Civil Procedure. All of the
opinions that I have offered in this report are given to a reasonable degree of probability and/or
certainty, and they are based on my education, training, knowledge, experience and/or materials that I
have reviewed in connection with this litigation, which are substantial and have allowed me to perform
a complete analysis of each of Plaintiff’s allegations related to the subject Rock ‘n Play Sleeper. This
report is not meant to be an exhaustive recitation of all my opinions in the above‐referenced case. My
curriculum vitae, which details my education and experience, and includes a list of all publications
authored by me in the past 10 years, is attached to this report as Exhibit A. A list of the materials upon
which I have considered is attached to this report as Exhibit B. Citations to specific reference material
also are offered in this report, where I believe it necessary to cite a specific source; otherwise, my
opinions are derived from a combination of reference sources, my own professional experience, and
general professional knowledge. I reserve the right to supplement this list, as well as to amend and
supplement the opinions expressed in this report. I also reserve the right to respond to and rebut all
information provided in discovery, which I understand is ongoing, and any opinions offered by Plaintiff’s
experts at their depositions or at trial. My fee schedule is attached as Exhibit C. My list of prior
testimony is attached as Exhibit D. This report is being produced in this case only and is subject to the
confidential Protective Order applicable to this case.

Introduction
It is my understanding that on June 19, 2014, Zoey Olson (dob 9/30/2013) was discovered by her
mother, Kathleen Courkamp, in her Rock ‘n Play Sleeper, non‐responsive. According to Ms. Courkamp’s
deposition testimony, Zoey had been placed on her back in the Rock ‘n Play Sleeper around 1:30 a.m.,
slept through the night, and was alive, on her back, at 6 a.m. when she checked on her, visually.
According to the police report and autopsy report, at approximately 8 a.m. Zoey was found positioned
semi‐prone/semi‐left‐lateral, cold to the touch, with the restraint not fastened, and with nothing
obstructing her nose or mouth. The cause and manner of death were found to be unknown and
undetermined, respectively, and are reported as such on the death certificate. The US Consumer
Product Safety Commission (CPSC) investigated the incident in 2019 (190502CBB3348), noting it was a
manufacturer reported incident.

The product involved was a Rock ‘n Play Sleeper, Model BHL58, purchased by Zoey’s paternal
grandmother in 2013 as a gift. This incident and the surrounding circumstances will be discussed in more
detail later in this report.

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I have been retained as a consumer product safety expert by the law firm Greenberg Traurig, LLP,
representing the Defendants, Fisher‐Price, Inc. and Mattel, Inc. I am qualified to act as an expert in this
matter based on my extensive experience in product safety, in particular the safety of infants’ and
children’s products. My experience in product safety spans over forty years, during which time I have
worked in both the Division of Hazard Analysis and the Division of Human Factors at CPSC and operated
my own consumer product safety consulting business. My responsibilities at CPSC included critical
review of injury data and in‐depth investigation reports as well as hands‐on evaluation of products. My
particular role in Human Factors was to provide technical support for the Directorate for Compliance,
and in particular for Section 15(b) determinations of product defects and substantial product hazards. I
am familiar with CPSC rulemaking, regulations, reporting requirements, recall process, and databases. In
my consulting business I have provided regulatory guidance, including for the filing of Section 15(b)
reports. I have also provided injury analysis and human factors guidance to manufacturers for the safe
design of products for infants and children, including their instructions and warnings, and for addressing
various issues including asphyxiation. I have served as a product safety expert for both plaintiffs and
defendants.

In addition to my experience, I have extensive knowledge and education in the field of injury prevention
and control. My graduate studies at Johns Hopkins University, which culminated with a Master of Public
Health Degree, included, among others, principles of epidemiology, epidemiology of injuries, injury
prevention and control, biomechanical epidemiology, biostatistics, health information systems, and
survey sampling. I am an active, voting member of ASTM (Committee F15) and as a member of several
subcommittees, have contributed to the development of consumer product safety standards for, among
other things, infant products and toys. I have authored two books on product safety/injury prevention,
both published by Johns Hopkins University Press: From Crib to Kindergarten: The Essential Child Safety
Guide, which is written for parents and caregivers of infants and young children; Living Safely, Aging
Well, which is written for seniors and their caregivers. In addition, I have co‐authored a book chapter
(for two editions) on the safety of nursery products, and authored/co‐authored peer reviewed articles
on the subject of injury and injury prevention, including infant mechanical suffocation. These
accomplishments are reflected in my curriculum vitae.

The Product Design History
The product at issue is a Fisher‐Price Rock ‘n Play Sleeper, Model BHL58, manufactured on July 16, 2013
(Steinwachs 01/22/21 testimony, p. 154). Fisher‐Price initially marketed the Rock ‘n Play Sleeper in

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2009, after having researched and tested the product. Mr. Steinwachs was the Fisher‐Price principal
quality engineer responsible for guiding a team to develop a product that would be reasonably safe for
its intended and foreseeable use, and meet all applicable government and industry safety standards as
well as Fisher‐Price internal safety and quality standards. The process included, among other things,
design reviews, consultation with an outside medical/biomechanics expert, safety/hazard analyses, play
lab observational testing at Fisher‐Price headquarters by child development experts, in‐home consumer
testing, and third party testing. This process was reasonable, rational, and logical. It was meant to
ensure that products introduced to the marketplace had undergone stringent safety and usability
evaluation and review, and is consistent with the process a reasonable manufacturer would undertake
in developing a product such as the Rock ‘n Play Sleeper.

The pre‐market research and testing were performed by senior engineers, senior safety staff thoroughly
familiar with infant safety standards and infant safe sleep guidelines, and child development specialists
with advanced degrees. The process of product development specifically included a series of hazard
analyses and safety audits in 2008 and 20091 as well as prototype testing in homes of employees and
other consumers during 2009.2 The product was placed in homes for a period of one or two weeks; 56
infant subjects ranged in age from 2 weeks to six months and in weight from 8 to 20 lbs. The testing
yielded overall satisfaction with the product and in particular with the inclined back support (especially
to prevent spit‐up and for babies with reflux) and the raised height for the easy access it provided.
During in‐home testing, some babies slept in the product overnight, while others used it only for
daytime play or napping. Although the restraint was reportedly not used or used sometimes by some
parents, there was no information on the circumstances under which that occurred. The context of non‐
use of the restraint is important to assess related risks. For example, if a parent were playing directly
with an infant in the sleeper while the infant was not restrained, that would not be surprising and would
not create a risk of injury. In no instance did any parent raise a concern for safety.

Restraints are a common component of juvenile products, intended to keep an occupant safely secured
within the product. For example, standards for products such as carriages and strollers (ASTM F833),
infant swings (ASTM F2088), and infant bouncer seats (ASTM F2167) require restraints. All Fisher‐Price




1
 See Mattel‐COU0003033; Mattel‐COU0003122 – Mattel‐COU0003140
2
 See Mattel‐COU000663 – Mattel‐COU000674; Mattel‐COU0000669 – Mattel‐COU0000674; Mattel‐COU0000675
– Mattel‐COU0000980; Mattel‐COU0002089 – Mattel‐COU0002148

                                                      3
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products with an incline have a restraint to keep a baby in place and prevent a baby from falling out
(Pilarz 11/9/20 testimony, p. 66).

In the case of the Rock ‘n Play Sleeper, the restraint was designed to keep the baby in position so as not
to slouch downward into a position that could potentially affect breathing or fall out of the product.
Although non‐use of the restraint necessarily removes its protective function, that does not necessarily
render the Rock ‘n Play Sleeper unsafe. Other inherent design features offered complementary
protection: raised sides and a head dam mitigated the potential for falling out of the product; the
defined, narrow seat area created a natural area of containment; and the angled footrest minimized the
ability to push off.

Based on inputs from all its sources during the development of the Rock ‘n Play Sleeper, Fisher‐Price
appropriately: found a hammock design (which is not rigid) to be unacceptable due to the potential for
suffocation; ensured there were no entrapment, strangulation or rebreathing hazards; added a design
feature to ensure the baby could not come out of the product at the “head” end; utilized an obtuse
angle to mitigate the risk of pushing off from the foot‐rest; ensured that the product did not encourage
a chin‐to‐chest position by incorporating a firm, flat backrest; and ensured supine positioning by design.
Further, Fisher‐Price designed the product to be narrower at the hip than shoulder, which in concert
with the three‐point restraint would keep the baby in position.

In deciding on product dimensions, Fisher‐Price took into consideration infant anthropometry data3 and
developmental milestones, and for performance testing and labeling issues took into consideration
ASTM and EN safety standards as well as internal Fisher‐Price methods and guidelines.4 Prior to
production, models were tested for compliance with internal requirements and by third party for
compliance with applicable industry and government standards.

The outside expert Fisher‐Price consulted with was Dr. Gary Deegear, a medical consultant with
pediatric and biomechanical training, who had a well‐established relationship with Fisher‐Price dating
back to the late 1990s—nearly two decades before the development of the Rock ‘n Play Sleeper. Dr.
Deegear first became aware that Fisher‐Price was developing a new product (later known as the Rock ‘n
Play Sleeper) in December, 2008 (MATTEL‐COU‐0000560). At that time, Ms. Pilarz sent Dr. Deegear a



3
    Mattel‐COU0003143 – Mattel‐COU0003152
4
    See Mattel‐COU0012505 – Mattel‐COU0012515; Mattel‐COU0003153 – Mattel‐COU0003187

                                                    4
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“description” of the Rock ‘n Play Sleeper to which Dr. Deegear replied, requesting information regarding
product specifications, including “height, when fully extended upright,” “assembled weight,” and
“length and width of the sling area and the rocker bottom” (MATTEL‐COU‐0003047). Ms. Chapman sent
Ms. Pilarz a sketch that contained the dimensions of the Rock ‘n Play Sleeper, which explicitly showed
the reclining back angle as 32 degrees (MATTEL‐COU‐0000562 ‐ MATTEL‐COU‐0000564). Ms. Pilarz then
forwarded that sketch to Dr. Deegear (MATTEL‐COU‐0960471).5

A December 17, 2008 e‐mail from Ms. Pilarz summarizes a telephone conversation she had with Dr.
Deegear. Ms. Pilarz’s email suggests that Dr. Deegear was aware of the product’s intended use for sleep.
She specifically notes “Regarding marketing claims, the doctor suggested we [m]ay advise that the
product allows [a] child to sleep with his head elevated, when he needs to sleep in that way... We can
say the product provides a comfortable sleep environment. Overall Dr. Deegear did not have issues with
the product” (MATTEL‐COU‐0003038). There are multiple other e‐mails, invoices, and even FedEx
delivery notifications showing Dr. Deegear provided consultation and reviewed the Rock ‘n Play Sleepers
from 2009 until at least 2012—two years after the product was first introduced on the market. These
documents are consistent with Ms. Pilarz’s belief and understanding that Dr. Deegear was aware of and
satisfied with the design of the Rock ‘n Play Sleeper (including the approximate 30‐degree angle) and its
intended use (including unattended, overnight sleep).6

According to Ms. Pilarz’s deposition testimony, Dr. Deegear consulted on a number of products that had
babies at an incline—not just the Rock ‘n Play Sleeper.7 Ms. Pilarz was familiar with Dr. Deegear from
their prior history of working on other products together; she had a good rapport with him; they had
good communications and understood how to communicate with each other; if Dr. Deegear had
concerns, he expressed them to her.8 Ms. Pilarz testified that Dr. Deegear even evaluated the warnings
and commented that he liked the developmental warning Fisher‐Price intended to include on the Rock
‘n Play Sleeper.9 When asked whether she discussed with Dr. Deegear whether the Rock ‘n Play Sleeper




5
  See also Pilarz Dep. (01/21/2021), 296‐300.
6
  Pilarz Dep. (01/21/2021), 286‐287, 321‐322, 383.
7
  Pilarz Dep. (01/21/2021). 280.
8
  Pilarz Dep. (01/21/2021), 281‐284.
9
  Pilarz Dep. (01/21/2021), 313.

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was safe for overnight sleep, she testified “yes.”10 Dr. Deegear never told Ms. Pilarz that he had safety
concerns about a 30‐degree angle.11

Dr. Deegear was recently deposed in March, 2021. While he did not recall specifically consulting on
behalf of Fisher‐Price, and only “kind of” and “very vaguely” remembered consulting on the Rock ‘n Play
Sleeper, documents I reviewed, in addition to Ms. Pilarz’s testimony, support the conclusion that Dr.
Deegear was aware of the design of the Rock ‘n Play Sleeper (including the approximate 30‐degree
angle) and its intended use (including unattended, overnight sleep).

Consistent with the American Academy of Pediatrics (AAP) guidelines recommending infants sleep on
their backs on a firm surface, the Fisher‐Price design included a rigid plastic back for the Rock ‘n Play
Sleeper that keeps the infant’s head and torso on the same plane, in a reclined supine position. The AAP
never uses the word horizontal to describe an appropriate surface; instead, the focus has always been
on “firm.” The 2011 recommendation was “Use a firm sleep surface: Soft materials or objects such as
pillows, quilts, comforters, or sheepskins should not be placed under a sleeping infant.”12 The 2016
recommendation (the most recent) was “Infants should be placed on a firm sleep surface” and the
rationale was “A firm surface maintains its shape and will not indent or conform to the shape of the
infant’s head when the infant is placed on the surface.”13

Fisher‐Price’s focus on safety resulted in the Rock ‘n Play Sleeper’s offering these beneficial features: a
fully open design allowing access to ambient air, eliminating rebreathing possibilities; a rigid back that
fully supports the torso/head in the same, gentle approximate 30⁰ plane, eliminating chin‐to‐chest
positioning; a seat area that naturally positions the baby supine, with baby’s bottom and center of
gravity at a low point, making turning over or climbing out more difficult; a crotch restraint designed to
keep a baby from slouching and to keep a baby in position on its back; a minimal range of head‐to‐toe
rocking to preclude any sliding out of position; the absence of shoulder straps which eliminates any
strangulation potential; and a raised design which precludes the product’s being placed on an elevated




10
   Pilarz Dep. (01/21/2021), 322.
11
   Pilarz Dep. (01/21/2021), 287.
12
   Task Force on Sudden Infant Death Syndrome. SIDS and other sleep‐related infant deaths: expansion of
recommendations for a safe infant sleeping environment. DOI: 10.1542/peds.2011‐2284
13
   Task Force on Sudden Infant Death Syndrome. SIDS and Other Sleep‐Related Infant Deaths: Updated 2016
Recommendations for a Safe Infant Sleeping Environment. DOI: 10.1542/peds.2016‐2938

                                                      6
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surface, thereby eliminating the fall hazard sometimes presented by products like bouncers or other
infant carriers.

The corporate (Fisher‐Price) attitude towards designing safe products is evidenced by the type of
seminar given to employees.14 The referenced pages reflect the implementation of a logical approach to
product development and marketing, including identifying factors relevant to anticipated users,
addressing hazards, conducting valid product safety/injury research, understanding the role of warnings,
and recognizing the importance of regulations and standards.

When first produced in 2009, the Rock ‘n Play Sleeper complied with the relevant bassinet standard
ASTM F2194‐07, which addressed the known hazards of suffocation, tip over, and collapse. The
suffocation hazard was addressed through requirements for pad dimension and thickness. Tip over was
addressed through product stability tests using a CAMI dummy. Collapse was addressed through the use
of static loads. In addition, warning labels were required to address the fall hazard, the suffocation
hazard associated with bedding, and the recommendation to place infants supine to reduce the risk of
SIDS. The specific language for these statements was required, verbatim.

My review of Fisher‐Price’s internal documents, such as the Product Requirements Document for this
particular model (Mattel_COU0040365‐40402), demonstrate that there are various internal procedures
that go above and beyond what is required in the ASTM standards.

In short, Fisher‐Price acted responsibly to address all the known and foreseeable hazards associated
with infant sleep.

Product Safety: CPSC
CPSC: Authority, Structure, and Data Collection
The CPSC is an independent federal regulatory agency, created by the Consumer Product Safety Act of
197215 (CPSA) to protect the public against unreasonable risks of injury associated with consumer
products, to develop safety standards, and to promote research and investigation into the causes and
prevention of consumer product‐related deaths, illnesses, and injuries. The CPSC is headed by five
Commissioners (although on occasion there are vacancies) appointed by the President of the United


14
   See Mattel‐COU00076210, Mattel‐COU00076214, Mattel‐COU00076234, Mattel‐COU00076247, Mattel‐
COU00076288‐76290, Mattel‐COU00076334‐5, Mattel‐COU00076359
15
   Public Law 92‐573; 86 Stat. 1207. Oct. 27. 1972. (15 U.S.C.)

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States. Among other authorities, CPSC has the authority to create mandatory safety regulations—so‐
called rulemaking—and to recall or ban products. By law (Section 5. [15 U.S.C. 2054]), the CPSC must
collect, investigate, analyze and disseminate injury data associated with consumer products. To that
end, it maintains NEISS, the National Electronic Injury Surveillance System, to track, on a daily basis,
about 100 hospital emergency‐departments nationwide for reports of injuries associated with consumer
products. It also collects, online and via hotline, consumer complaints, medical examiners’ reports,
industry and government reports, states’ death certificates, and other sources of reports of injuries
associated with consumer products. CPSC’s Office of Hazard Identification and Reduction routinely
reviews all the collected injury, potential injury, and death data.

This information serves as a first alert. To fully understand the circumstances of a consumer product‐
related injury or death, the CPSC assigns follow‐up investigations (In‐Depth‐Investigations (IDIs)). These
detailed investigations are conducted by trained staff from the Office of Compliance and Field
Operations. Investigators typically conduct an on‐site visit (or phone interview) where the incident
occurred, interviewing all persons with knowledge of the incident, photographing the scene, identifying
and photographing the product involved, and photographing a reenactment of the incident, if possible.
The investigators also obtain any police reports and photos, and in the case of a death, the medical
examiner’s autopsy report. When available, they collect product samples to send back to headquarters
for study. For deaths of infants under twelve months of age occurring suddenly and unexpectedly,
investigators also obtain answers to a 49‐question standardized death scene investigation report. That
report is divided into five sections: description of the product/infant interaction pre‐death and at death
(e.g. position when last seen alive and position at death); description of the products (including
manufacturer, how the product was obtained, and condition of product integrity); description of the
infant (e.g. whether full term or premature, developmental skills, illnesses); maternal history (e.g. age);
and environmental factors (e.g. smoking, heat).

All of the information gathered is documented in an “Epidemiologic Investigation Report” (the IDI),
which is reviewed and signed off on by a Regional Office Director, and then sent to CPSC headquarters.
The IDI is essentially the cornerstone that gives the CPSC technical staff the ability to understand how a
product may or may not have contributed to an injury or death. The CPSC technical staff resides in
various Directorates, including the Directorate for Engineering Sciences, Directorate for Health Sciences,
Directorate for Epidemiology, and Directorate for Economic Analysis. Divisions exist within the
Directorates. For example, under the Directorate for Engineering Sciences are the Human Factors and

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Mechanical Engineering Divisions; under the Directorate for Health Sciences is the Division of
Pharmacology and Physiology; under the Directorate for Epidemiology is the Division of Hazard Analysis.
In addition, the CPSC maintains a testing laboratory where staff examine, test and evaluate products.
The technical staff includes epidemiologists, human factors psychologists, statisticians, economists,
engineers, and health scientists, including physiologists. Many on the technical staff hold PhDs and
Master’s Degrees in their specialties, giving the agency the expertise required to evaluate data and
make science‐based decisions regarding product safety. The various Divisions prepare memos to
document their findings and understanding of a product’s role in an incident. These documents, in turn,
guide the CPSC to identify products or product categories that require regulatory intervention either
because they violate an existing standard or because they pose a substantial risk of injury. When
appropriate, these detailed memos from the various Divisions and Directorates are organized into a
Briefing Package for the Commissioners, which summarizes the supporting data and outlines options for
Commission action. The Commissioners rely on these reports to make agency decisions, including
rulemaking.

CPSC: Mandatory Reporting Requirements
In addition to the data collected via NEISS (which operates under contracts with hospitals) and
consumer complaints (which are voluntarily submitted), the CPSC requires mandatory reporting by
manufacturers through the mechanism of Section 15(b) of the CPSA [15 U.S.C. 2064] which states,
“Every manufacturer of a consumer product distributed in commerce, and every distributor and retailer
of such product, who obtains information which reasonably supports the conclusion that such product—
(1) fails to comply with an applicable consumer product safety standard upon which the Commission has
relied under section 9; (2) contains a defect which could create a substantial product hazard described in
subsection (a)(2); or (3) creates an unreasonable risk of serious injury or death, shall immediately inform
the Commission of such failure to comply, of such defect, or of such risk, unless such manufacturer,
distributor, or retailer, has actual knowledge that the Commission has been adequately informed of
such defect, failure to comply, or such risk.” Section 15(a) defines “substantial product hazard” as “(1) a
failure to comply with an applicable consumer product safety rule which creates a substantial risk of
injury to the public, or (2) a product defect which (because of the pattern of defect, the number of
defective products distributed in commerce, the severity of the risk, or otherwise) creates a substantial
risk of injury to the public.”




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Section 15(d) goes on to say that if the Commission determines that a product presents a substantial
product hazard it may offer the manufacturer, distributor, or retailer to take “whichever of the following
actions the person to whom the order is directed elects: (1) To bring such product into conformity with
the requirements of the applicable consumer product safety rule or to repair the defect in such product.
(2) To replace such product with a like or equivalent product which complies with the applicable
consumer product safety rule or which does not contain the defect. (3) To refund the purchase price
(less a reasonable allowance for use, if such product has been in the possession of a consumer for one
year or more (A) at the time of public notice under subsection (c), or (B) at the time the consumer
receives actual notice of the defect or noncompliance, whichever first occurs).”

Section 15(c) addresses public notice when required to adequately protect the public from a substantial
product hazard. The Commission may order any one or more of three options: “(1) To give public notice
of the defect or failure to comply. (2) To mail notice to each person who is a manufacturer, distributor,
or retailer of such product. (3) To mail notice to every person to whom the person required to give
notice knows such product was delivered or sold.” “Any such order shall specify the form and content of
any notice required to be given under such order.”

Details for Section 15(b) reporting are outlined at 16CFR1115. Section 1115.4 offers examples of
“defects” and notes that “In determining whether the risk of injury associated with a product is the type
of risk which will render the product defective, the Commission and staff will consider, as appropriate:
the utility of the product involved; the nature of the risk of injury which the product presents; the
necessity for the product; the population exposed to the product and its risk of injury; the obviousness
of such risk; the adequacy of warnings and instructions to mitigate such risk; the role of consumer
misuse of the product and the foreseeability of such misuse; the Commission’s own experience and
expertise; the case law interpreting Federal and State public health and safety statutes; the case law in
the area of products liability; and other factors relevant to the determination.”

Section 1115.12 discusses which information should be reported and how to evaluate a substantial
product hazard. “The obligation to report arises upon receipt of information from which one could
reasonably conclude the existence of a reportable non‐compliance, defect which could create a
substantial product hazard, or unreasonable risk of injury or death.” “A subject firm in its report to the
Commission need not admit, or may specifically deny, that the information it submits reasonably
supports the conclusion that its consumer product … contains a defect which could create a substantial


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product hazard…” After receiving the report, the CPSC “may conduct further investigation and will
preliminarily determine whether the product reported upon presents a substantial product hazard.”

Section 1115.13 (c) outlines what is required in the initial report: an identification and description of the
product; name and address of the manufacturer; nature and extent of the possible defect or risk; nature
of the injury risk; and name and address of the person reporting. If CPSC preliminarily determines that
there is no substantial product hazard, it may inform the company that no further reporting is
necessary; otherwise, CPSC requires the filing of a full report per 1115.13 (d). A full report is more
detailed, asking for, e.g., the retail price of the product, the number of units involved and where they
are in the distribution chain, an explanation of the marketing, or other information as the Commission
may request. Section 1115.14 (e) specifies the time frame within which reporting is required:
“Immediately, that is, within 24 hours, after a subject firm has obtained information which reasonably
supports the conclusion that its consumer product fails to comply with an applicable consumer product
safety rule or voluntary consumer product safety standard, contains a defect which could create a
substantial risk of injury to the public, or creates an unreasonable risk of serious injury or death…”

Section 1115.20 outlines the voluntary remedies the Commission can seek, which include corrective
action plans and consent order agreements. A corrective action plan (CAP) is “a document, signed by a
subject firm, which sets forth the remedial action which the firm will voluntarily undertake to protect
the public, but which has no legally binding effect.” A CAP shall include: a statement of the nature of the
alleged hazard associated with the product, including the nature of the alleged defect or noncompliance
and the type(s) of potential injury presented; a detailed statement of the means to notify the public (e.g.
letter, press release, advertising), including who will receive the notice, and a copy of the notice; the
specific models affected; any necessary instructions regarding use or handling of the product pending
correction; an explanation of the specific cause of the alleged substantial product hazard, if known; a
statement of the corrective action to eliminate the alleged substantial product hazard; a statement of
the steps that have been or will be taken to prevent re‐occurrence of the alleged substantial product
hazard; a statement of the action to correct products in the distribution chain, including a timetable and
information about the number and location of those units; signatures of representatives of the firm; an
acknowledgement by the firm that CPSC may monitor the CAP; and an agreement that CPSC can
publicize the terms of the plan to the extent necessary to inform the public. Upon receipt of a proposed
corrective action plan CPSC staff considers it and makes a recommendation: the CPSC may approve the
plan, reject the plan and issue a complaint (which would be followed by an administrative and/or judicial

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proceeding), or take other action. A plan becomes effective only upon final acceptance by the
Commission. As part of the CAP the company may include a statement indicating that the plan does not
constitute an admission by the company that either reportable information or a substantial product
hazard exists.

A consent order agreement is a document “executed by a subject firm (Consenting Party) and a
Commission staff representative which incorporates both a proposed complaint setting forth the staff’s
charges and a proposed order by which such charges are resolved.” Section 1115.29 (c) establishes that
the Commission will make the final determination as to the form and content of a recall notice for the
purposes of an order under section 15(c) or (d) [15 U.S.C. 2064]. CPSC must review and agree in writing
to all aspects of a recall notice to be issued pursuant to an order under section 15(c) or (d) [15 U.S.C.
2064].

CPSC: Rulemaking
If the Commissioners vote to initiate rulemaking, the staff follows a formal process described in Section
9 [15 U.S.C. 2058], Procedure for Consumer Product Safety Rules. To briefly summarize the process, first
the CPSC must issue in the Federal Register an ANPR (Advance Notice of Proposed Rulemaking) which:
identifies the product and the nature of the risk; summarizes regulatory alternatives under
consideration, including voluntary standards; discusses why existing relevant standards, if any, are
considered inadequate to address the stated hazard and eliminate or reduce associated injuries; invites
public comment with respect to the risk of injury and regulatory alternatives; invites submission of
existing standard(s) or portions thereof as a proposed standard; and invites statements of intent to
modify or develop a voluntary standard to address the hazard, along with descriptions of a plan to
modify or develop such standard. If in response to the ANPR, the CPSC determines that compliance with
an existing/proposed standard is likely to eliminate or adequately reduce the risk of injury, and if it is
likely that there will be substantial compliance with such standard, the CPSC must terminate any
rulemaking and notify the public through a Federal Register Notice. The public will then have an
opportunity to comment on that intent. On the other hand, if after the back‐and‐forth between the
Commission and the public a final regulation is drafted, the full text of that too must be published in the
Federal Register as an NPR (Notice of Proposed Rulemaking) with a similar comment period as given the
ANPR. Usually, proposed regulations are issued within twelve months after the date of the ANPR. Prior
to promulgating a new rule, the CPSC must conduct a regulatory analysis which describes the potential
benefits and costs of the rule, addresses why alternatives were not chosen, and summarizes comments

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raised during the comment period. The Commission also has the authority to amend or revoke a safety
rule.

Product Safety: ASTM
ASTM: Organization
ASTM International is a non‐profit, voluntary standards developing organization, founded in the late
1800s. Its membership is open and voluntary and includes individuals from various sectors, including
producers, users, consumers, government, and academia. Producers are defined as individuals who
represent an organization that produces or sells materials, products, systems or services covered by the
scope of the committee; users are individuals who represent an organization that purchases or uses
materials, products, systems or services, other than for household use, covered by the scope of the
committee; consumers are individuals who primarily purchase or represent products and services for
household use within the scope of the committee; and general interest members are individuals who do
not fit into any of the other categories.

ASTM members belong to Committees in which they have an interest. Committees must have a
balanced membership so that all sectors are represented according to ASTM by‐laws. Producers cannot
outnumber the user, consumer and general interest members of a subcommittee and producers can
have only 50% or less of the vote. Main committees are subject‐area specific, for example, consumer
products, agriculture, energy & utilities, etc.; subcommittees focus on the development of specific
standards within the broader subject areas of committees.

ASTM: Standards Development
Standards development work begins when a need for a standard is recognized. ASTM subcommittees
are the basic units of standards development work. The executive subcommittee establishes
subcommittees with specific purposes as described in their scope. The scope is generally balloted within
the subcommittee and approved by the executive subcommittee. Subcommittees must have a chairman
and should have a vice chairman and a secretary. Division of responsibility between the subcommittee
officers is up to the individual subcommittee. The ASTM Technical Committee Officer Handbook (from
which the information for these ASTM sections was taken) helps committee officers better understand
their duties and responsibilities.

Standards’ writing begins within a technical subcommittee, or task group, which prepares a draft
standard. Discussions that occur at this level ensure that the standard will address all concerns, and

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reflect the categories of members who do the work as including CPSC staff (e.g., Celestine Kish) and
consumer advocates (e.g., Nancy Cowles) as well as industry representatives. The draft standard is
reviewed and voted on by the parent subcommittee. After the subcommittee approves the document, it
is voted on by the main committee.

The chairman has responsibilities in four broad areas: meetings, standards development, administration
and membership. The chairman must either perform or see to it that certain duties are performed.
Briefly, some meetings related duties include: preparing and posting an agenda; setting the meeting
time and place; keeping attendance sheets; chairing the meeting; preparing minutes; and reporting
meeting highlights back to the main committee. Standards development duties include: reviewing
existing standards and requests for standards actions; submitting ballot items; presiding over
subcommittee consideration of votes to ensure that the subcommittee properly considers all negative
votes and comments cast on ballot items originating from the subcommittee, whether the vote is cast at
subcommittee, main committee, or Society Review; and assuring that all standards are reviewed for
revision, reapproval, or withdrawal at least every five years. Some administration duties include
reviewing the organization and scope of the subcommittee and monitoring assigned tasks, ballots and
negative resolutions. As far as membership related duties, the Chairman reviews rosters and voting lists
for balance.

This last responsibility of the Chairman—maintaining balance in voting members—is important because
ASTM standards are consensus standards. This means that no one group monopolizes the process of
developing standards. While it is not unusual for a committee or subcommittee chairperson to be a
member of the industry affected by the standard, this by no means implies that such industries control
or manipulate the outcome of standards development. Industry individuals often occupy chairmanships
because typically they are the most knowledgeable about the products being discussed. For example,
the chair of F15.10 on flammable liquid containers is affiliated with the gasoline can industry, and the
chair of F15.22 on toys is a Vice President of the Toy Association. The F15.18 subcommittee on inclined
sleep products was chaired for a period of time by Mike Steinwachs, a former engineer at Fisher‐Price,
which at the time was a major manufacturer of inclined sleepers. Many other manufacturers of infant
sleep products are members of F15.18, as well as are consumers and general interest members,
including CPSC staff.




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Subcommittees may be further divided into task groups, which are small working groups responsible for
a specific assignment. Task groups also have a chairman and are made up of members assigned by the
subcommittee chair or volunteers who may or may not be ASTM members. Subcommittee chairmen
must monitor the progress of task groups through verbal or written reports and progress should be
documented in the minutes.

Many layers of rigorous review and balloting ensure that the final published standards are as accurate
and valid as possible. More than 12,000 ASTM standards operate globally. Standards are living
documents. They are routinely reviewed and can be modified, re‐approved, or withdrawn.

ASTM: Ballots
Once a standard is developed (or revised) within a subcommittee, the balloting process begins. There
are three levels of balloting: at the subcommittee, the main committee, and Society Review. The basic
principles of all ASTM ballots are as follows: the ballot must contain a cover letter explaining the reason
for the proposed action; all ballots are posted and voting is conducted on the ASTM website, ensuring
that every member has an opportunity to vote; all ballots are issued for not less than 30 days, allowing
members adequate time to critically review the balloted documents; voting options include affirmative,
affirm with comment, negative with statement, abstain, and abstain with comment; negative votes and
statements must be considered by the originating subcommittee; whenever a ballot leads to substantive
changes in a document, the revised version must be re‐balloted at all levels to ensure that the technical
changes to a document are made on a consensus basis within the subcommittee.

Sixty percent of the official voting members must return ballots before the subcommittee ballot can
close. Abstention votes are counted towards the requirement. An affirmative vote of at least two‐thirds
of the combined affirmative and negative votes cast by the official voting members on each ballot item
is required for a successful ballot of that item. Abstentions do not count in the calculation. The ballot
results, negatives, and comments are included in a closing report which all subcommittee members can
access via the ASTM website once the ballot is closed.

Negative votes received on subcommittee ballots are considered and ruled on by the subcommittee that
initiated the item. Negative votes can be withdrawn by the voter, or deemed not related, persuasive, or
non‐persuasive by the subcommittee. If substantive changes to a document are made in response to a
persuasive negative vote, the item must be re‐balloted. If all negative votes are withdrawn or ruled not
related or not persuasive, the ballot item may go on to the next level—the main committee ballot. Items

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that have passed subcommittee ballot without any negatives are automatically forwarded to main
committee ballot. Negative votes from the subcommittee ballot that were ruled not persuasive or not
related by the subcommittee must be included on the main committee ballot, where voting members
can either agree or disagree with the subcommittee’s decisions. That main committee ballot item must
include the subcommittee’s vote counts and rationale for determining not persuasive and not related
negatives. Society members have an opportunity to participate in the balloting process during the main
committee ballot. If a voter disagrees with the decision about his or her negative vote—not with the
technical content, but with the review process—he or she can ask for a formal review to ensure that the
process was handled correctly.

At least 60% of the official voting members must return ballots before a main committee ballot return is
valid. Abstentions count in this calculation. Approval of each main committee ballot item requires an
affirmative vote of at least 90% of the combined affirmative and negative votes cast by official voting
members. Abstentions do not count in this calculation. The number of affirmative, negative, and
abstaining votes on each ballot item is reported to the committee in the closing report.

Following a successful main committee ballot and Society Review, a ballot summary detailing returns
and handling of negative votes is submitted to the Committee on Standards (COS) by the Standards
Coordination Department. COS determines whether all procedural requirements were met. If COS
approves the standards action, the document is published by ASTM.

Interaction Between CPSC and Voluntary Standards Organizations
By law, the Commission must rely on voluntary standards whenever compliance with such standards
eliminates or adequately reduces the risk of injury addressed, and when it is likely that there will be
substantial compliance with such standards.16 The Commission must also, to the extent practicable,
assist public and private organizations or groups of manufacturers, administratively and technically, in
the development of product safety standards and test methods.17 In fact, the Executive Director of the
Commission appoints a Voluntary Standards Coordinator, currently Patricia L. Edwards from the Office
of Hazard Identification and Reduction, to manage CPSC’s involvement so that effective use is made of
CPSC personnel and resources. The Voluntary Standards Coordinator is responsible for preparing semi‐
annual reports for the Commission that summarize staff voluntary standards activities, goals of each


16
     15 U.S.C. 2056 Sec 7(b)1 (Consumer Product Safety Act)
17
     15 U.S.C. 2054 Sec 5(a)(4)

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voluntary standard under development, status of standards development and implementation, and
recommendations for additional CPSC action, if warranted.

To that end, the CPSC has a long‐standing relationship with ASTM, providing injury/fatality data and
technical expertise to the development of ASTM standards. According to 16CFR1031.7, CPSC support of
voluntary standards can include: providing epidemiological and health science information; identifying
specific risks of injury; performing or subsidizing technical assistance, including research, data, and
engineering support; evaluating adequacy of a standards to reduce injury risks identified by CPSC;
monitoring the number and market share of products conforming to a voluntary standard; and hosting
meetings.

It is not unusual for CPSC to initiate a request for a standard to be developed, based on injury
epidemiology, and it is routine for CPSC to actively contribute to the development and revision of ASTM
standards for consumer products. For example, in the case of the development of ASTM F3118,
Standard Consumer Safety Specification for Inclined Sleep Products, Celestine Kish, Division of Human
Factors, worked closely with subcommittee F15.18.

Standards Relevant to the Rock ‘n Play Sleeper
At the time the original Rock ‘n Play Sleeper was released in 2009, it was subject to ASTM F2194‐07,
Standard Consumer Safety Specification for Bassinets and Cradles, which defined a bassinet/cradle as
follows: “small bed for infants supported by free standing legs, a wheeled base, a rocking base, or
which can swing relative to a stationary base.” The standard required a product and its instructions to
warn about: the suffocation hazard associated with adding pillows, comforters, or padding; the fall
hazard associated with infants who can push up on hands and knees; the strangulation hazard
associated with strings and window cords; and the recommendation to place babies to sleep on their
backs to reduce the risk of SIDS. There was no limitation to the product incline in the ASTM F2194‐07
standard.

When it became evident that inclined sleep products required a separate standard, ASTM
Subcommittee F15.18, which is responsible for bassinets, among other products, began developing
F3118 (Standard Consumer Safety Specification for Inclined Sleep Products) in 2011, and the CPSC,
working with that subcommittee, intended to incorporate that standard as a mandatory regulation.
Following the procedures for ASTM standards development and balloting described above, F3118 was
first approved as F3118‐15 on April 1, 2015 and published in May 2015. The scope (Section 1.3) of

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F3118‐15 included products with “an inclined sleep surface primarily intended and marketed to provide
sleeping accommodations for an infant up to 5 months old or when the infant begins to roll over or pull
up on sides, whichever comes first.” The standard defined an infant inclined sleep product as “a
freestanding product, intended to provide a [sic] sleeping accommodations for an infant up to
approximately 5 months of age, that is supported by a stationary or rocker base with one or more
inclined sleep surface positions for the seat back that are greater than 10° and do not exceed 30° from
the horizontal.”

The Rock ‘n Play Sleeper at issue was manufactured during the timeframe that it was no longer covered
under the bassinet standard (F2194‐12) and before F3118 was published. In ASTM F2194‐12, the
definition of bassinet/cradle was clarified in Section 3.1.1.1: “While in a rest (non‐rocking or swinging)
position, a bassinet/cradle is intended to have a horizontal sleep surface.” This change is what caused
the Rock ‘n Play Sleeper to no longer be covered by the standard. That does not mean the product
suddenly was required to be manufactured differently or was unsafe when manufactured. Nor did this
change impact previously sold Rock ‘n Play Sleepers. Fisher‐Price could still test to all the relevant
sections of the standard and could still sell the product; it just could not “either by label or other means,
indicate compliance” with F2194‐12 (Section 1.4 of the bassinet standard). Further, the hazards
identified in F3118 (falls, positional asphyxiation, and obstruction of the nose and mouth by bedding)
had already been addressed in the Rock ‘n Play Sleeper.

Incident Details
In the early morning hours of June 19, 2014, Zoey and her mother (Kathleen Courkamp) and father
(Andrew Olson) arrived at her father’s home in Tempe, AZ. Zoey and her father had driven to pick up her
mother from work. Zoey was asleep in her car seat during the ride, and when they arrived home about
1:00 or 1:30 a.m., her father took her from the vehicle and into the home. Zoey woke up briefly and her
father placed her supine in her Rock ‘n Play Sleeper (Model BHL58), located next to her parents’ bed,
and she went right back to sleep. Mother and father went to bed shortly thereafter. At approximately 8
a.m. Kathleen woke to discover Zoey was cold to the touch and not breathing. (Although in her
deposition Ms. Courkamp testified that she had woken up around 6 a.m. to check on Zoey and found her
alive, all other summaries of the event note the wake‐up time to be approximately 8 a.m.) Andrew
picked Zoey up, called 911, and started CPR. Police and emergency services arrived. Zoey was
pronounced dead at approximately 8:06 a.m.



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There were conflicting reports of the position in which Zoey was found. According to the Tempe Police
Department Report (ZO‐TempePD‐000036), when Kathleen Courkamp woke at approximately 8 a.m. she
checked on Zoey and she was still on her back. In the same report (ZO‐TempePD‐000039), Andrew Olson
stated that Kathleen noticed that Zoey was face down. The Fire Department Report stated the parents
found the baby prone (ZO‐TempeFD‐000001). In the Infant Death Investigation Checklist, which was part
of the police report, it was noted that the infant was found on her side (ZO‐TempePD‐000083).

A reenactment was performed on site the same day as the event, utilizing the second (non‐incident)
Rock ‘n Play Sleeper available in the home. According to the Tempe Police Report (ZO‐TempePD‐000011)
the father, demonstrating the “placed” position, put the substitute doll in the Rock ‘n Play Sleeper face
up, buckled with the single strap fastening device attached to the Rock ‘n Play Sleeper as part of
product; demonstrating the “found” position, the mother placed the substitute doll, still buckled, on its
left side with the face and abdomen towards the bottom of the Rock ‘n Play Sleeper. This description of
the reenactment does not match other narrative or the reenactment photos. According to Mr. Olson’s
deposition testimony (p. 161) he did not recall whether he buckled Zoey in or not when he put her to
sleep, but according to his recorded interview with Detective Akey on June 19, 2014 (Exhibit 3 to A.
Olson deposition; p. 11), Zoey was unbuckled in the morning when found. According to Ms. Courkamp’s
deposition testimony (p. 154) Zoey was not strong enough and did not know how to unbuckle the
restraint herself. Ms. Courkamp also testified that she had no specific recollection of Mr. Olson buckling
Zoey into the Rock ‘n Play Sleeper (p. 148). Both parents knew of and understood the restraint warning,
and Ms. Courkamp specifically testified using the restraint was an “absolute warning” (pg. 102).

Further, the Rock ‘n Play Sleeper restraint is a three‐point, crotch restraint, not a “single strap fastening
device.” Photos of the reenactment show the substitute doll not restrained both when placed (ZO‐
TempePD‐000145) and found (ZO‐TempePD‐000152). The position in which Zoey was found was shown
as unrestrained, semi‐prone, semi‐lateral‐left, with her nose and mouth unobstructed (ZO‐TempePD‐
000156).

The Maricopa County Office of the Medical Examiner’s report described the incident reenactment as
follows (ZO‐MCOME‐000020). Mr. Olson placed the substitute doll in the second Rock ‘n Play Sleeper
supine. The mother then placed the doll in a semi‐left lateral semi‐prone position. She stated that the
infant’s mouth was not obstructed. Mr. Olson believed Zoey had undone the restraint during the night.




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However, Ms. Courkamp testified that Zoey was not strong enough to unbuckle the restraint (Kathleen
Courkamp 10/21/2020 testimony p. 154).

Based on the reenactment photographs, the recorded detective’s interview, and sworn testimony, I
believe Zoey was placed unrestrained, just as she was found. Exhibit 16, Courkamp (COU007089), is a
photo that shows Zoey at some earlier date, asleep in the incident Rock ‘n Play Sleeper, unrestrained
and in a similar lateral position to that in which she was found at incident.

Consistent with Ms. Courkamp’s description of unobstructed breathing, the Infant Death Investigation
Checklist’s section on “suffocation/asphyxia” was left blank (ZO‐TempePD‐000083). The Medical
Examiner’s Report noted cause of death unknown, manner of death undetermined.

In 2019, the incident was reported to CPSC (ZO‐MCOME‐000010). The CPSC conducted an in‐depth
investigation (IDI) of the incident (190502CBB3348; Mattel‐COU0012399‐12409). The IDI stated the
investigation was initiated from a manufacturer reported incident to the Commission. The report was
brief and essentially relied on the Medical Examiner’s Report.

Fisher‐Price Knew of Only One Fatality Before Zoey’s Death
It is important to consider the event at issue in the context of what was known to Fisher‐Price and CPSC
as of 2013, when the subject Rock ‘n Play Sleeper was manufactured and sold. As of an October 12,
2015 email (Mattel‐COU0048954), Fisher‐Price knew of only one fatality reportedly associated with the
Rock ‘n Play Sleeper that occurred before June 19, 2014. The report was received December 7, 2012.
The event involved a 15‐week‐old whose death was ruled SIDS.18 The death was investigated by the
CPSC in 2013 (IDI# 130103CCC1391). The CPSC investigation noted the infant was three months old, had
been swaddled, with an additional blanket present. The infant was not restrained and had been laid
down on his side. The description illustrates a completely different scenario from the Courkamp
incident.

According to this same October 12, 2015 email, Fisher‐Price knew of two potential suffocations that
occurred prior to Zoey’s death in June 2014. From the information available, no infant was in the
position that Zoey Olson was allegedly found.




18
  According to this same e‐mail, Fisher‐Price learned of another alleged fatality that was reported in June 9, 2013,
but it was later confirmed that this incident did not involve a Rock ‘n Play Sleeper.

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None of these events was deemed directly correlated with the product’s attributes (Deposition
Testimony of Joel Taft, p. 202). Indeed, the December, 2012 reported incident confirmed that the
product was misused—the infant was not restrained and was laid down on his side with an additional
blanket. The clear and unambiguous warnings and instructions explain that the restraint is to “ALWAYS”
be used, that infants should be “placed on their backs to sleep” and to not add extra bedding because
soft bedding can pose a suffocation hazard.

Dr. Vredenburgh’s opinion that Fisher‐Price “was aware of at least 66 incidents with the sleeper prior to
Zoey’s death” is not supported by any data; she offers this opinion without providing any support for it.
She provides no assessment or analysis of whether any of these incidents are substantially similar to
Zoey’s and thus relevant to this case. In citing Mr. Taft’s testimony where he discusses incidents
reported to Fisher‐Price in 2014 of babies falling out of the Rock ‘n Play Sleeper, she ignores entirely Mr.
Taft’s testimony that their investigation did not reveal an association between the incidents and the
design of the Rock ‘n Play Sleeper and none involved a fatality or serious injury.19

The CPSC’s Annual Reports Further Confirmed No Fatalities Allegedly Associated with the Rock ‘n Play
Sleeper
The CPSC is also a source for what was known (and therefore foreseeable) to Fisher‐Price as of June 19,
2014. The CPSC publishes an annual report, Injuries and Deaths Associated with Nursery Products
among Children Younger than Age Five, which covers incidents identified through CPSC’s databases. In
these reports, the CPSC does not identify products by brand or manufacturer, and includes this or
similar language: “The hazard patterns described indicate that although a nursery product was involved,
many of the fatalities were not caused by failures of the product.” Prior to 2018, fatalities associated
with inclined sleep products were reported under the product category “Other.” As of the December
2013 report, which covered fatalities reported during 2008‐2010, the CPSC knew of two deaths that
involved an inclined sleep product that was being used inside a crib. There were no fatalities involving
the Rock ‘n Play Sleeper or any similar products. As of the CPSC’s December 2014 report, which covered
fatalities reported during 2009‐2011, the CPSC knew of three deaths that involved an inclined sleep
product which was being used inside a crib. There were no fatalities involving the Rock ‘n Play Sleeper or
any similar inclined sleeper. As of the December 2015 report, which covered fatalities reported during
2010‐2012, the CPSC knew of seven deaths that involved an inclined sleeper, “most of them a foam


19
     Taft Dep. (11.12.2020), 274‐275.

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sleep product which was being used inside a crib.” There were no fatalities involving the Rock ‘n Play
Sleeper or any similar products. The first appearance of an inclined rocking sleeper‐related fatality was
in the December 2016 report, which covered fatalities reported during 2011‐2013, the CPSC knew of five
deaths that involved “an inclined sleeper, such as a foam sleep product or a rocking sleeper.” The CPSC’s
December 2017 report, which covered fatalities reported during 2012‐2014 reported six deaths in an
inclined sleeper, noting they were associated with products “such as a foam sleep product or a rocking
sleeper.” In the CPSC’s December 2018 report, the product category “Inclined Sleep Products” was used
for the first time, and it included products that had “one or more inclined sleep surface adjustment
positions for the seat back that are greater than 10 degrees but do not exceed 30 degrees.” The specific
examples provided of such products were “infant hammocks, recliner seats, and nappers, among
others.” These products had formerly been reported in the product category “Other.” This 2018 report
covered inclined sleeper fatalities reported in the overlapping time frames 2012‐2014 (n=6) and 2013‐
2015 (n=7) and did not describe the fatality pattern(s). Thus, from the time Fisher‐Price manufactured
the Rock ‘n Play Sleeper at issue through December 2018, the CPSC knew of only a few inclined sleeper‐
related fatalities, and there was not an identified fatality pattern(s). Therefore, Dr. Vredenburgh’s
opinion that Fisher‐Price failed to warn of the “high risk of the suffocation hazard” is completely without
factual basis. (The 2018 report included a total of 296 fatalities for the period 2013‐2015, the majority
(73%) of which involved cribs (n=103), bassinets/cradles (n=60), and playpens (n=52)).

Note that it took until 2018 for the CPSC to recognize inclined sleepers as a distinct product category for
this annual publication—nine years after the introduction of the Rock ‘n Play Sleeper to the
marketplace, and three years after the promulgation of the ASTM inclined sleeper safety standard. Bear
in mind that Fisher‐Price reported all the fatalities to the CPSC that had been reported directly to the
company. In addition, and beyond any reporting requirement, Fisher‐Price developed a protocol to
provide CPSC with weekly reports that included information about serious injuries and patterns of
similar consumer complaints (Pilarz 1/21/21 deposition, pp. 48‐9, 193). It is reasonable, therefore, that
these deaths that did not raise a concern for the CPSC also did not raise a concern for Fisher‐Price and
never gave Fisher‐Price any indication that there was an issue with the manufacture or design of the
Rock ‘n Play Sleeper.




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Discussion
Rock ‘n Play Sleeper’s Intended Users
The product at issue is a Fisher‐Price Rock ‘n Play Sleeper, Model BHL58, given as a gift to Ms. Courkamp
and her then boyfriend, Andrew Olson, by Mr. Olson’s mother some time in 2013. Based on photos, it
appears that Zoey used a Rock ‘n Play Sleeper from an early age (COU_007134, COU_007139).

Intended users of the product are infants who are not yet able to push up, pull up or sit up unassisted.
The on‐product warnings (see COU_005582) include these statements, among others: “[alert symbol]
WARNING Failure to follow these warnings and the instructions could result in serious injury or death.”
“FALL HAZARD—to prevent falls DO NOT use this product when the infant begins to push up on hands
and knees, can pull up or sit unassisted or has reached 25 lbs. (11.3kg), whichever comes first.” “Always
provide the supervision necessary for the continued safety of your child.”

From her medical records, at age 4 months, Zoey was beginning to roll front to back (ZO‐ClearPFH‐
000034); and at age 6 months she could roll over (ZO‐ClearPFH‐000033). Photos show that before the
incident, Zoey could push up (COU_007173, _007182, _007217, _007244), sit up unassisted
(COU_007092, _007281, _007286, _007295) and stand, holding on (COU_007095).

At incident, when she was 8 ½ months old, Zoey clearly had reached and exceeded all the
developmental milestones noted on the Rock ‘n Play Sleeper warning label as milestones at which the
product was no longer appropriate and should not be used. At incident, Zoey was definitely not an
intended user. Dr. Singhose tries to argue that Zoey was an intended user based on the 25lb weight limit
for the product, but he fails to acknowledge the phrase, “whichever comes first,” meaning an infant
could exceed the developmental milestones warned about on the product before she reached 25 lbs—
as was the case with Zoey.

The Role of the Rock ‘n Play Sleeper’s Warnings and Instructions
The on‐product warnings of the Rock ‘n Play Sleeper at issue (COU_005582) include these statements,
among others: “[alert symbol] WARNING Failure to follow these warnings and the instructions could
result in serious injury or death.” “ALWAYS use the restraint system.” “ALWAYS use the pad provided,
which includes the restraint.” “NEVER add a mattress, pillow, comforter, or padding.” “SUFFOCATION
HAZARD—infants can suffocate: in gaps between an extra pad and the side of the product—on soft
bedding.” “FALL HAZARD—to prevent falls DO NOT use this product when the infant begins to push up



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on hands and knees, can pull up or sit unassisted or has reached 25 lbs. (11.3kg), whichever comes first.”
“Always provide the supervision necessary for the continued safety of your child.”

The intent of warnings is to inform about how to avoid potential hazards associated with a product that
could not be removed through design. They also address consumer behaviors that introduce hazards not
inherent in the product. By default, warnings require the consumer to take the recommended actions in
order to avoid injury or fatality. The on‐product Rock ‘n Play Sleeper label warns about a fall hazard if
the restraint is not used and provides the consumer guidance as to the developmental stage (push up on
hands and knees, pull up, or sit unassisted) or weight at which the product can no longer be used safely.
In regard to the motor milestones and weight, the warning label specifically says “whichever comes
first.” Dr. Vredenburgh stated that Fisher‐Price should have included in its warning a reference to
rollover risk. I disagree. By using the milestone “pushing up on hands and knees,” Fisher‐Price’s warning
subsumes the milestone of rolling, which is developmentally more advanced. Generally, pushing up on
hands and knees occurs developmentally before rolling prone to supine, which occurs developmentally
before rolling supine to prone. It is an appropriate and conservative milestone that indicates increasing
infant mobility and signals the time to stop using the product. Therefore, when the Rock ‘n Play Sleeper
warning label is complied with regarding when to stop using the product, it protects infants not only
from falling out but also from any rollover scenarios. Thus, even though rollover was not specifically
referenced, the warning label actually accounted for it. Dr. Vredenburgh also states that the warning
should have included a specific “age of use” limitation on the warning. As Ms. Pilarz testified, however,
it is Fisher‐Price’s standard procedure to include “developmental level” for juvenile products.20 This
approach is reasonable because children of the same age often have reached very different
developmental milestones. The warning was appropriate.

Additionally, the CPSC annual report, Injuries and Deaths Associated with Nursery Products among
Children Younger than Age Five, includes fatality data associated with bouncers, infant carriers and car
seats, strollers/carriages, and swings, all products that position infants reclined supine. In reviewing the
reports for the years 2010 through 2014, which included fatalities reported during 2005‐2011, I found
no rollover deaths were reported in any of those categories. Most deaths occurred in infant carriers and
car seats, where the major patterns of death included strangulation from entanglement in restraint
straps, product tip‐over on a soft surface, and unrestrained unsupervised infants in a compromising


20
     Kitty Pilarz Dep. (11/09/2020), 37:18‐38:19.

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position. Note the “compromising position” was not further described. It was not until the 2018 report
that eight deaths associated with bouncers were described; they included rolling to prone, tipping over
on a non‐rigid surface, and falls from the product. The frequency distribution of the fatality patterns was
not noted.

Further, both Mr. Olson (p. 129‐130; 149‐150; 192‐193) and Ms. Courkamp (p. 99‐102) acknowledged
that they understood the Rock ‘n Play Sleeper warnings. Mr. Olson testified (p. 129‐130) that he
absolutely believed it was important to familiarize himself with warnings for every product; Ms.
Courkamp testified (p. 101‐102) the warning was a standard warning, similar to what she had seen on
other infant products. She also understood the warning about using the restraint to be an “absolute
warning” (p. 102). Yet, she testified at deposition that she could not recall whether Mr. Olson buckled
Zoey into the Rock ‘n Play Sleeper. Similarly, Mr. Olson testified that he could not recall whether he
buckled Zoey into the Rock ‘n Play Sleeper. Additionally, and contrary to the warnings, Zoey is shown in
her Rock ‘n Play Sleeper at various times unrestrained (COU_7089, 7134, 7139), swaddled (COU_7139),
which prevents use of the restraint, and with bedding added (COU_7132).

The instructions accompanying the Rock ‘n Play Sleeper repeat the on‐product warning language
(Mattel‐COU_0001788) and show clearly how to position the infant and how to secure the restraint
(Mattel‐COU_0001790).

Despite Dr. Vredenburgh’s opinions, the on‐product warnings were also conspicuous. On‐product
warnings are considered conspicuous21 if they are visible “when the unit is in a manufacturer’s
recommended use position, to a person standing near the unit at any one position around the infant
inclined sleep products but not necessarily visible from all positions.” This definition of conspicuous has
been used in ASTM standards for years. There is no guarantee that a warning label located on the
“reverse” side, as Dr. Vredenburgh suggests, will be any more complied with. Consider the ASTM F2167‐
15 fall hazard warning label for bouncers, which was required to be located on the front surface and not
be obscured by the occupant. The warning informs of the potential for skull fractures and warns to use
the product only on the floor, to secure the restraint snugly, and not to lift or carry the bouncer with
baby in it. Bouncer related injuries reported through NEISS for 2013 (before the label location
requirement) and 2018 (three years after the requirement) were reviewed. The major patterns of injury
were the same in both time frames: falls from a height (e.g., a countertop) and falling out of the product

21
     ASTM Standard F3118‐16, section 3.1.3

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on ground level. These patterns of injury accounted for 70% of bouncer related injuries in 2013 and 66%
of injuries in 2018. The estimated number of injuries in each time frame was also the same,
approximately 2,400. Thus, it appears that the change in warning label location did not affect consumer
behavior. Moreover, based on the parents’ own testimony in this case, there is no indication that they
would have changed their behavior had the warning been placed in a different location on the Rock ‘n
Play Sleeper or contained different or additional language.

Ms. Courkamp and Mr. Olson misused the Rock ‘n Play Sleeper by using it in a manner contrary to the
warnings and instructions, and their failure to follow the warnings and instructions led to their placing
Zoey, an 8 ½ month old unintended user, unrestrained in the product for overnight sleep. Zoey’s motor
skill level far exceeded all the developmental milestones noted on the warning label. She was too
developed to use the product safely. Such unreasonable misuse was not foreseeable to Fisher‐Price and
was the underlying cause of the alleged event.

Comparing the Rock ‘n Play Sleeper to Other Inclined Products
Myriad inclined products manufactured not only by Fisher‐Price, but also by several other
manufacturers, have been marketed for years—and infants have fallen asleep over and over again in
them. Such products include strollers, bouncers, day sleepers/loungers, swings, infant carriers, infant
rockers and so on. Such products are covered under various voluntary and mandatory standards. Were
there an inherent hazard associated with the angle of incline per se it would have been evidenced in the
injury data long ago. None of these products has been declared defective or recalled based on their
angles of incline. Further, it is erroneous to conclude that the Rock ‘n Play Sleeper presents the same
hazards as those associated with the types of inclined products the AAP guidelines address:

    ‐Strollers can pose an entrapment/strangulation/hanging hazard when children slip into leg
    openings and become trapped by the head. The Rock ‘n Play Sleeper has no entrapment areas.

    ‐Swings can pose an entrapment/strangulation hazard when children become lodged between
    supports and the swing seat. This scenario is not possible with the Rock ‘n Play Sleeper.

     ‐Infant carriers can pose hazards similar to those associated with car seats. The Rock ‘n Play Sleeper:
    is stable; possesses no shoulder restraints or other loops; and would not be expected to be placed on
    an elevated or soft surface.




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     ‐Infant slings can pose a suffocation hazard due to re‐breathing, and a positional asphyxia hazard
     due to a risk of a chin‐to‐chest position created by an unsupported neck/torso. The Rock ‘n Play
     Sleeper has an open design that allows free movement of ambient air and a hard plastic insert that
     fully supports the neck/torso in the same plane.

These products are appropriately not recommended as unsupervised sleep environments and the
relevant hazards associated with these products are not presented by the Rock ‘n Play Sleeper.

In addition, products that are not inherently hazardous can become hazardous when used
inappropriately or outside their intended environment. For example, failure to use a restraint or to
inappropriately secure a restraint can turn strollers and car seats into hazardous products. The majority
of incidents associated with car seats typically happen when the car seat is taken into the home, the
restraint loosened or not used, and placed on the floor, a bed, or an elevated surface. In this kind of
environment, the seat is no longer locked in its angled position or stable as it is when inside a vehicle,
nor is the child adequately secured. The major patterns of injury are falling from the car seat; the seat
falling from an elevated surface, and the seat overturning on a soft surface.22,23 The Rock ‘n Play Sleeper
does not present these hazards because: it is stable; it would not be expected to be placed on an
elevated surface or on top of a bed or other soft surface; and it maintains the infant restrained in a
position (buttocks low and legs at an upward angle) that minimizes the likelihood that an infant could
attempt to climb out and fall. In addition, it possesses no shoulder restraints or other loops that would
present a strangulation hazard.

Although decreased oxygen levels,24,25,26 positional asphyxia, and unexplained deaths27 have been
reported with car seats, in many cases, the more vulnerable infants are premature or less than one
month old (Willett et al and Cote et al); in other cases, an additional factor of the infant’s position is



22
   Pollack‐Nelson C. Fall and suffocation injuries associated with in‐home use of car seats and baby carriers. Pediatr
Emerg Care 2000 Apr; 16(2):77‐9
23
   Parikh SN and Wilson L. Hazardous use of car seats outside the car in the United States, 2003‐2007. Pediatrics
2010; 126(2):352‐57
24
   Bass JL and Bull M. Oxygen desaturation in healthy term infants in car safety seats. Pediatrics 2002; 110(2):401‐
402
25
   Merchant JR, Worwa C, Porter S, Coleman JM et al. Respiratory instability of term and near‐term healthy
newborn infants in car safety seats. Pediatrics 2001; 108(3):647‐52
26
   Willett LD, Leuschen MP, Nelson RS, Nelson RM. Risk of hypoventilation in premature infants in car seats. J
Pediatr 1986; 109(2):245‐48
27
   Cote A, Bairam A, Deschenes M et al. Sudden infant deaths in sitting devices. Arch Dis Child 2008; 93:384‐9

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noted (Bass et al and Merchant et al). Bull and Stroup28 illustrate how different designs of car seats can
present positional/slouching problems. The problems are related to how the shoulder and crotch
restraints support the baby. They found that short (5.5 inches or less) seat back to crotch restraint
distances fit small infants well and provided relatively good support. Note that the seat back to crotch
distance in the Rock ‘n Play Sleeper (measured perpendicularly from the junction of the seatback and
seat to the seam of attachment of the crotch strap) is approximately 2 inches. Thus, when properly
secured the crotch restraint offers an effective means to keep even small infants in position without
slouching.

The Product’s Angle of Incline
In a study of inclined sleepers, including the Rock ‘n Play Sleeper, conducted under contract with the
CPSC (the “Mannen study”), it has been alleged that a 30⁰ angle of incline per se is hazardous29 because
“infants could not maintain a lying posture at the 30‐degree crib mattress incline and began to slide off
the mattress.” This rationale simply does not apply to the Rock ‘n Play Sleeper, which prevents sliding by
incorporating a defined seating area. Further, the published literature does not condemn a 30⁰ degree
angle, and Dr. Mannen does not cite any published literature to support the position that a 30⁰ degree
angle is not safe. While flexion of the neck has been demonstrated to have an adverse effect on
breathing,30,31,32, 33,34,35 tilting of the body has not. In fact, studies by Thorensen et al36 and
Dellagrammaticas et al37 demonstrate that a tilt from the horizontal actually improves oxygenation in
infants. Thorensen’s study measured PO2 (which reflects the amount of dissolved oxygen in the blood)
at horizontal (0⁰) and 30⁰, demonstrating that PO2 increased with head up tilting; Dellagrammaticas’


28
   Bull MJ and Stroup KB. Premature infants in car seats. Pediatrics 1985; 75(2):336‐39
29
   Mannen EM et al. Biomechanical analysis of inclined sleep products – Final Report 09.18.2019
30
   Reiterer F, Abbasi S, Bhutani VK. Influence of head‐neck posture on airflow and pulmonary mechanics in preterm
infants. Pediatric Pulmonology 1994; 17:149‐54
31
   Carlo WA, Beoglos A, Siner ES et al. Neck and body position effects on pulmonary mechanism in infants.
Pediatrics 1989; 84(4):670‐4
32
   Merchant JR, Worwa C, Porter S, Coleman JM et al. Respiratory instability of term and near‐term healthy
newborn infants in car safety seats. Pediatrics 2001; 108(3):647‐52
33
   Willett LD, Leuschen MP, Nelson RS, Nelson RM. Risk of hypoventilation in premature infants in car seats. J
Pediatr 1986; 109(2):245‐48
34
   Cote A, Bairam A, Deschenes M et al. Sudden infant deaths in sitting devices. Arch Dis Child 2008; 93:384‐9
35
   Tonkin, SL, Gunn TR, Bennet L, et al. A review of the anatomy of the upper airway in early infancy and its possible
relevance to SIDS. Early Human Development 2002;66:107‐121
36
   Thorensen M, Cowan F, Whitelaw A. Effect of tilting on oxygenation in newborn infants. Arch Dis Child 1988;
63:315‐7
37
   Dellagrammaticas HD, Kapetanakis J, Papadimitriou M, Kourakis G. Effect of body tilting on physiological
functions in stable very low birth weight neonates. Arch Dis Child 1991; 66:429‐32

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study measured oxygenation at 0⁰, 10⁰, 20⁰, 30⁰, and 45⁰ and demonstrated that oxygenation improved
as the angle of tilt increased from 0⁰ to 45⁰. Even the Mannen study found that in the supine position,
the intended use position of the Rock ‘n Play Sleeper, there was no problem with oxygen desaturation in
any of the tested products. Drs. Fox and Shaffer also report no decrease in oxygen saturation among
infants in the Rock ‘n Play Sleeper (Mattel_COU0020130‐131).

In her report, Dr. Vredenburgh references a study done in the mid‐90s using live infants in frame‐
suspended rocking cradles to imply a risk associated with the incline of the Rock ‘n Play Sleeper. It
appears she is referencing the study by Beal et al38 which describes a completely different tilt. The
implication of similarity with the Rock ‘n Play Sleeper is completely erroneous; the Rock ‘n Play Sleeper
inclines in a different plane and shares no design features with the rocking cradle used in the study.

The Mannen study documented falls in oxygen saturation in infants placed in the prone position. While
the study findings emphasized (as did Dr. Singhose and Dr. Goodstein in their reports) that babies were
“more than twice as likely to experience SpO2 readings of <95% while lying prone in an inclined sleep
product compared to prone on a crib mattress,” the findings noted that in cases of lower oxygen
saturation the baby’s face appeared to be in contact with the surface of the product. This is clearly a
suffocation by obstruction of the nose/mouth position and not a reflection of the effect of the incline.
Further, the findings could just as easily have been reported as 90% of infants experienced no lowered
oxygenation saturation while prone in a 0⁰ crib compared with 80% of infants in a Rock ‘n Play Sleeper.
The difference is not so striking when stated in this manner.

For babies who sleep better on an incline, the Rock ‘n Play Sleeper offers a safer alternative to
positioning devices intended to be placed under a crib mattress because they can shift and pose
asphyxiation hazards.39 Further support for the safety of inclined sleep surfaces lies in the fact that
ASTM F 3118, the standard for inclined sleep products, was published in 2015. The existence of this
standard, which does not warn against prolonged or overnight sleep, supports the fact that inclined
products can be designed as safe sleep environments and are not inherently dangerous due to the
incline.




38
  Beal SM, Moore L, Collett M et al. The danger of freely rocking cradles. J Paediatr Child Health 1995;31:38‐40
39
  Centers for Disease Control and Prevention. Suffocation deaths associated with the use of infant sleep
positioners—United States, 1997‐2011. MMWR November, 2012; 61(46):933‐937

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Despite the claims by Dr. Goodstein and Dr. Singhose that the Mannen study demonstrated that infants
“could” more easily roll from supine to prone in an inclined sleeper, the study used the term “may.” In
fact, both the study and the published article40 based on the Mannen study concluded “it is not fully
understood how infants achieve a roll from supine to prone…” Note that infants studied in the prone
position in the Mannen study were placed prone; they did not roll over on their own. No independent
infant rollovers occurred during the study. The study neither documented rollover nor explained the
biomechanics of rollover in any inclined sleeper.

The study reported that with the infant in the prone position, only products with a rigid plastic surface
showed no difference in the number of times babies lifted the trunk/neck compared with the prone
position on a 0⁰ crib. Those “rigid” products included the Rock ‘n Play Sleepers. Also, there was reduced
trunk range of motion in the Rock ‘n Play Sleepers compared with the 0⁰ crib: “…something about the
design of inclined sleep products is preventing trunk motion during supine lying in a way that an inclined
crib mattress surface does not.” This suggests that rolling over in the Rock ‘n Play Sleeper would actually
be more difficult than rolling over in a crib. In addition, the space required to rollover, as measured
during the study (Section 4.4.3 Space Required to Roll), was greater than any space in any of the
sleepers they studied, including Rock ‘n Play Sleepers. Thus, in theory, the design of the Rock ‘n Play
Sleeper prohibited rollover. When this is considered, it further supports that the product was designed
safely and indeed was safe when used as instructed.

Dr. Singhose misrepresents the Mannen study’s findings when applying them to the Rock ‘n Play
Sleeper. On page 39 of his report he quotes the Mannen study’s findings about rolling on a “non‐rigid”
surface, but the Rock ‘n Play Sleeper is rigid. While Dr. Singhose’s study proposes an explanation of
rollover, he is silent as to whether the infants shown in the photos in his figures 23, 24, 33 or 38 were
placed in those positions, encouraged to move to those positions, or were actually observed to have
rolled to those positions. He notes (p. 29) that he used a doll as a representative infant in his stop‐action
video to illustrate rollover but does not report video recording of live infants’ rolling behavior.




40
  Wang J et al. Do inclined sleeping surfaces impact infants’ muscle activity and movement? A safe sleep product
design perspective. J Biomechanics 111 (2020); 109999

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AAP Safe Sleep Guidelines41
Sleep positions include supine, prone, and on a side. The AAP recommends an infant be placed in the
supine (wholly on the back) position until age one year. Once an infant can roll on its own from supine
(on the back) to prone (on the stomach), and from prone to supine, the infant can be allowed to remain
in the sleep position that he or she assumes. Side sleeping is not safe and is not recommended.
Elevating the head of an infant in a crib, for example by the use of wedges, while the infant is supine is
not recommended because it could result in the infant’s sliding to the foot of the crib into a position
that might compromise respiration. The Rock ‘n Play Sleeper does not elevate the head while the
occupant is in a reclined supine position. The defined seating area precludes slipping, and thus does not
present the same hazard that a crib with a wedge or sleep positioner would.

As far as a firm sleep surface is concerned, AAP recommends a “crib, bassinet, or portable crib/play yard
that conforms to the safety standards of CPSC or ASTM …” (2011 AAP Policy Recommendation 2a). The
Rock ‘n Play Sleeper has a firm sleep surface and did conform to the ASTM Standard F2194‐07 for
bassinets when first released and later to F2194‐10. Thus, at the time the 2011 AAP policy was issued,
the Rock ‘n Play Sleeper was considered a recommended sleep environment by AAP’s own guidelines.
Dr. Vredenburgh’s, Dr. Goodstein’s, and Dr. Christensen’s opinions that the Rock ‘n Play Sleeper is
neither “firm or flat”—and thus violates AAP guidelines—are incorrect and a misreading of the AAP
guidelines. As explained above, the Rock ‘n Play Sleeper has a hard plastic back that is indeed “firm.”
Additionally, the infant is placed “flat” in the Rock ‘n Play Sleeper, despite being at an angle. Even the
Mannen study (Section 6.2) uses the term “flat” (as opposed to “concave”) to describe inclines.

The AAP guidelines further recommend that soft materials or objects such as pillows, quilts, comforters,
or sheepskins, even if covered by a sheet, should not be placed under a sleeping infant. These kinds of
items should not be added to the sleep environment at all because they can present the risk of SIDS,
suffocation, strangulation, and entrapment. The Rock ‘n Play Sleeper warned against soft bedding.

Furthermore, Dr. Vredenburgh’s, Dr. Goodstein’s, and Dr. Christensen’s opinions that the Rock ‘n Play
Sleeper violates AAP guidelines because it is a “sitting device” are incorrect and yet another misreading
of the AAP guidelines. Sitting devices, such as car safety seats, strollers, swings, infant carriers, and
infant slings are not recommended for routine sleep. Previously, this report addressed these products


41
  Task Force on Sudden Infant Death Syndrome. SIDS and other sleep‐related infant deaths: expansion of
recommendations for a safe infant sleeping environment. DOI: 10.1542/peds.2011‐2284

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and demonstrated that the Rock ‘n Play Sleeper is different and does not present the hazards associated
with these products. The Rock ‘n Play Sleeper is not a sitting device within the meaning of the AAP
guidelines.

Rock ‘n Play Sleeper and CPSC Actions
CPSC has the authority to ban products that present an unreasonable risk of injury and to order recalls,
replacements or refunds for products that present a substantial risk of injury. At the time of Zoey’s
incident, the Commission was aware of only a few fatalities associated with inclined sleep products, as
reported through its Nursery Products annual report and/or Section 15(b) reports from manufacturers.
Since there was no regulatory action, it means that the level of risk did not rise to that of a substantial
product hazard.

On April 5, 2019, the CPSC and Fisher‐Price issued an alert (Mattel‐COU0018169) warning consumers to
not use the Rock ‘n Play Sleeper for infants who can roll, noting that rollover behavior begins at around
three months of age. The alert stated that CPSC was aware of eight deaths in a Rock ‘n Play Sleeper that
occurred since 2015. The infants were unrestrained and aged three months or older. The alert further
said CPSC had previously warned consumer to use restraints in inclined sleep products. Because deaths
continued to occur, CPSC was now recommending consumers stop using the product by the time infants
are three months old.

On April 12, 2019, ten years after the Rock ‘n Play Sleeper was introduced to the marketplace, nearly six
years after the subject Rock ‘n Play Sleeper was manufactured, and one week after the joint alert, CPSC
and Fisher‐Price announced a recall (Recall 19‐05) of the Rock ‘n Play Sleeper. The press release
referenced deaths that occurred after infants rolled over while unrestrained, or under other
circumstances, and there was no indication that the fatalities were caused by the Rock ‘n Play Sleeper.
Fisher‐Price conducted the recall voluntarily, and on a fast‐track basis. For fast‐track recalls, the CPSC
does not make a determination as to product defect or substantial product hazard. The CPSC did not see
the need to take regulatory action prior to April, 2019, and in fact, as discussed below, worked closely
with ASTM to develop the standard (F3118‐15) for inclined sleepers like the Rock ‘n Play Sleeper. Clearly,
the injury data the CPSC obtained from Fisher‐Price and on its own did not sufficiently demonstrate
evidence that the product itself needed to be recalled prior to 2019.




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Rock ‘n Play Sleeper and F3118
ASTM F3118 was developed because market forces created a new kind of infant product that did not fall
into the scope of any existing standard. This reason is completely compatible with the ASTM process
that says, “Standards development work begins when a need for a standard is recognized.” CPSC
confirms this in its October 2019 Supplemental Notice of Proposed Rulemaking for Infant Sleep
Products, wherein it states, CPSC staff, when it began work on the bassinet and cradle standard,
“considered infant inclined sleep products to fall within the scope of the bassinet/cradle standard.
However, because the bassinet/cradle standard did not address products on the market that had a sleep
incline greater than 10 degrees, the Commission directed staff to initiate a separate rulemaking effort
for infant inclined sleep products. Accordingly, the infant inclined sleep products safety standard was an
outgrowth of the bassinet/cradle safety standard, intended to address products with an incline greater
than 10 degrees from horizontal. In 2011, at the time CPSC separated infant inclined sleep products
from the bassinet/cradle standard, ASTM simultaneously began work on developing a voluntary
standard for infant inclined sleep products.”

The development of F3118 was done following the same set of procedures as any other ASTM standard.
The CPSC actively participated in the development of F3118. The following excerpts from CPSC’s
midyear and annual Voluntary Standards Reports reflect that CPSC was involved in developing F3118
from the very beginning and that the process followed ASTM procedures:

From the FY 2011 midyear report dated Sep 7, 2011:
Product: Inclined Sleep Products (Infant Hammocks)
Staff Contact: Edwards, Patty
Purpose: To develop a new ASTM safety standard and test methods for products intended to provide
inclined sleeping surfaces for infants.
Activities: Staff participated in meetings of the subcommittee for inclined sleep products on 11/9/10 and
1/12/11. The subcommittee reviewed a draft standard. Both the warnings and the surface angle test
were identified for revision.
Next Actions: CPSC staff will monitor the development of this draft standard and participate in an ASTM
subcommittee meeting to be held in 4/11.

From the FY 2011 annual report dated January 5, 2012:
Product: Inclined Sleep Products (Infant Hammocks)


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Staff Contact: Edwards, Patty
Purpose: To develop a new ASTM safety standard and test methods for products intended to provide
inclined sleeping surfaces for infants.
Activities: Staff participated in meetings of the subcommittee for inclined sleep products on 11/9/10 and
1/12/11. The subcommittee reviewed a draft standard. Both the warnings and the surface angle test
were identified for revision. On 4/11/11, the subcommittee reviewed methods for measuring the seat
back angles and the research supporting limits on seat back angles. Further research was needed. At the
meeting on 6/14/11, the scope of the standard and the definition of “restraints” were discussed.
Next Action: The task group chairman will present a proposal at the next meeting. CPSC staff will
monitor the development of this draft standard and participate in an ASTM.

From the FY 2012 annual report dated Mar 18, 2013:
Product: Inclined Sleep Products (Infant Hammocks)
Activities: The subcommittee also looked at a proposal for measuring the tilt angles of a sleeping
surface. At the 1/23/12 subcommittee meeting, a firm showed an inclined sleeper for inclusion in the
scope of the standard. No objections to inclusion were voiced, but restrictions on containment and
warnings were discussed, even though such products are intended for use on the floor only. Such
products will need to have a maximum 3‐inch height at the seat bight and side containments to prevent
occupants from falling out. The subcommittee met in 4/12 and in 6/12. The draft standard was revised
and reviewed. Task group work continued on the draft standard.
Next Action: CPSC staff will monitor the development of this draft standard and participate in an ASTM
subcommittee meeting on 10/23/12.

From the FY 2014 annual report dated Nov 10, 2015:
Product: Inclined Sleep Products (Infant Hammocks)
Staff Contact: Kish, Celestine
Purpose: To develop a new ASTM safety standard and test methods for products intended to provide
inclined sleeping surfaces for infants.
Activities: The task group for warnings conducted two telephone conferences during this reporting
period on 12/5/13 and 1/16/14. During the calls, the warning section of the draft standard was finalized,
and the task group agreed that the draft standard was ready to go to ballot. On 3/10/14, the draft
standard was submitted for ballot vote. The ballot closed on 4/9/14. Several task group conference calls
were held to address negative comments received on the ballot. A new ballot closed on 9/17/14. During

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the subcommittee meeting on 9/29/14, comments, negative votes, and editorial changes were
addressed.
Next Action: The subcommittee chair will submit a proposed standard to the ASTM F15 Committee on
Consumer Products for approval. CPSC staff will monitor the development of this draft standard and
participate in the next ASTM subcommittee meeting.

And finally, the Introduction to the published standard itself reflects CPSC involvement: “This consumer
safety specification addresses incidents associated with infant inclined sleep products identified by the
U.S. Consumer Product Safety Commission (CPSC). In response to incident data compiled by the CPSC,
this consumer safety specification attempts to minimize the following: (1) fall hazards, (2) positional
asphyxia, and (3) obstruction of nose and mouth by bedding. This consumer safety specification is
intended to cover normal use and reasonably foreseeable misuse or abuse of inclined sleep products.
This specification does not cover inclined sleep products that are blatantly misused or used in a careless
manner that disregards the safety instructions and warnings provided with each inclined sleep product.
This consumer safety specification is written within the current state‐of‐the‐art of infant sleep product
technology and will be updated whenever substantive information becomes available that necessitates
additional requirements or justifies the revision of existing requirements.” The existence of this
standard, which does not warn against prolonged or overnight sleep, supports the fact that inclined
products can be designed as safe sleep environments and are not inherently dangerous due to the
incline. It is noteworthy that rollover was not listed among the hazards identified by CPSC, and in fact, in
responding to a negative comment to the ASTM inclined sleeper ballot, the subcommittee concluded,
“The confining nature of compliant products prevents infants from rolling over…” (Mattel‐COU‐
0010196)

It is also noteworthy that the AAP did not provide any comments or negative votes when the standard
was being developed and balloted (Steinwachs 1/22/21 testimony, p. 271). Further, while inclined sleep
products were not explicitly listed among the recommended sleep environments of the 2016 AAP safe
sleep guidelines42 (“A crib, bassinet, portable crib, or play yard that conforms to the safety standards of
the Consumer Product Safety Commission…is recommended.”), they are not called out as products to




42
  Task Force on Sudden Infant Death Syndrome. SIDS and Other Sleep‐Related Infant Deaths: Updated 2016
Recommendations for a Safe Infant Sleeping Environment. DOI: 10.1542/peds.2016‐2938

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avoid. The sitting devices to avoid (recommendation 2) are the same kinds as described in the 2011
guidelines.

Additional Rebuttals to Dr. Vredenburgh and Dr. Singhose
In designing and testing new products, manufacturers have access to existing standards and regulations,
current and historic literature, anthropometric data, in‐house procedures for product review and
testing, injury and fatality data, experience with similar products, their collective experience with the
types of products they have produced in the past, and so on. Utilizing existing resources, a manufacturer
does not necessarily have to start from scratch or design tests for outcomes already known. Fisher‐Price
has been in the business of making children’s products since 1930—nearly one hundred years. It has
extensive experience with product design, testing, and safety.

Nonetheless, in her report, Dr. Vredenburgh stated she had not received evidence that key testing was
performed by Fisher‐Price, despite Mr. Steinwachs’ testimony that “If we needed testing done, we did
it.” Dr. Vredenburgh listed 13 tests she believed should have performed to identify potential hazards
associated with the Rock ‘n Play Sleeper. I paraphrase these below, and respond in italics:

1. Conduct biomechanical analyses of infants in the product, including mechanical strength and
respiration analyses of infants in the prone and side positions.

Mechanical strength data already exist and are utilized in testing protocols. For example, classic sources
for such data include CPSC’s Strength Characteristics of U.S. Children for Product Safety Design (1975)
and the UK’s Department of Trade and Industry’s CHILDATA, The Handbook of Child Measurements and
Capabilities—Data for Design Safety (1995). The latter contains data on 187 measurements of children’s
characteristics and abilities from several countries and was “produced to meet the needs of
manufacturers, designers, standards bodies and research organizations for the ergonomics and
performance data which are fundamental to the design of products and environments suitable for
children.” There are numerous other sources of similar data. As for respiration analyses, there is much
published research available and I have referenced several relevant journal articles (e.g., Thorensen et al
and Reiterer et al) in my discussion of the 30‐degree angle of incline.

2. Testing or analysis of infants rolling from prone or side to supine.




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The Rock ‘n Play Sleeper by design positions infants supine and does not provide space for recognized
infant rollover maneuvers. No pre‐market consumer testing of the product, including Fisher‐Price Play
Lab observations, indicated rollovers. No pre‐market injury or fatality data suggested the potential for
rollover. There would have been no reason to test rolling from a prone position with live infants.

3. Testing if infants prone can self‐correct to avoid injury.

There would be no reason to place infants prone for testing because the prone position was not expected
or reasonably foreseeable by design or by injury or fatality data.

4. Testing whether side constraints play a role in impeding infant’s ability to self‐correct.

Historically, side constraints are intended and tested to prevent the infant from falling out of the product.
Their role in self‐correction has never been identified as relevant.

5. Impact of sleep stages/fatigue on infant’s ability to self‐correct.

Such testing is in the realm of basic research and completely beyond any reasonable product testing
requirements.

6. Conduct positioning tests.

It is not clear what positioning Dr. Vredenburgh believes should have been tested or how the tests would
be performed.

7. Analyze whether consumers would use restraints.

Information on consumers’ use of restraints was collected during in‐home testing. Restraints are a
common component of juvenile products; parents and caregivers are expected to secure restraints and
the Rock ‘n Play Sleeper included a specific, prominent warning to always use the restraints. The Rock ‘n
Play Sleeper also had complementary features in place (e.g., the head dam, raised sidewalls, and defined
“seating” area) to help account for potential non‐use of the restraint, albeit contrary to the warnings and
instructions always requiring the use of the restraint.

8. Conduct studies with restraints off.




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In‐home tests documented use and experience with the restraints secured and not secured. Restraints
are a common component of juvenile products; parents and caregivers are expected to secure restraints
and the Rock ‘n Play Sleeper included a specific, prominent warning to always use the restraints. The
Rock ‘n Play Sleeper also had complementary features in place (e.g., the head dam, raised sidewalls, and
defined “seating” area) to help account for potential non‐use of the restraint, albeit contrary to the
warnings and instructions always requiring the use of the restraint.

9. Conduct testing to see if sleep stages affect infant’s ability to self‐correct.

Such testing is in the realm of basic research and completely beyond any reasonable product testing
requirements.

10. Determine if consumers would recognize warnings.

Decades of research have led to well‐recognized formatting and content of warnings per ANSI Z535
standards, which were first published in the early 1990s. Warnings required per ASTM standards have
consistently required formatting based on Z535, and often require specific, verbatim wording, as is the
case with the bassinet standard, F2194. Fisher‐Price complied with that warning, as exactly required.
Consumers, including Ms. Courkamp who testified (p. 101) the on‐product warning was standard and
familiar, are used to seeing this format. There is no indication in this case that a different warning would
have changed the parents’ behavior.

11. Determine if consumers would comply with warnings.

Based on the repeated use, over decades, of the format recommended by ANSI Z535 for consumer
product warnings, one can assume consumers are familiar with the recognizable presentation (alert
symbol, signal word, message panel). Compliance with warnings is up to the consumer. To study
compliance is nearly impossible to do in the real world because it would require a tester to be present to
observe every action by every consumer over time. Furthermore, there is no indication in this case that a
different warning would have changed the parents’ behavior.

12. Determine if consumers would recognize that not using restraints would/could result in baby rolling
over and dying.




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The Rock ‘n Play Sleeper included complementary features (e.g., the head dam, raised sidewalls, and
defined “seating” area) to help account for potential non‐use of the restraint, albeit contrary to the
warnings and instructions always requiring the use of the restraint. Further, Fisher‐Price warned
consumers to stop using the Rock ‘n Play Sleeper when the infant began to push up on hands and knees,
a motor milestone that occurs before infants can roll. Thus, Fisher‐Price’s warning in fact accounted for
it.

13. Determine if consumers should be told of the rollover risk.

Fisher‐Price warned consumers to stop using the Rock ‘n Play Sleeper when the infant began to push up
on hands and knees, a motor milestone that occurs before infants can roll. Thus, Fisher‐Price’s warning in
fact accounted for it.

It seems that many of Dr. Vredenburgh’s testing suggestions are rooted in the Mannen study, conducted
in 2019, and many require research using live infants. Routine hazard analyses in the field of injury
prevention consider these sources of energy that can cause potential injury: mechanical, thermal,
electrical, chemical, and radiation. In addition, they consider the absence of life requirements, such as
oxygen. Both CPSC and industry safety standards identify relevant hazards through injury and fatality
data as well as past experience with products, and include specific requirements and tests to eliminate
or reduce those hazards. They do not identify hazards by experimenting with live infants, as Dr.
Vredenburgh suggests; they utilize CAMI dummies when testing products.

Dr. Singhose stated that Fisher‐Price did not test for neck entanglement in the restraint. In fact, this was
specifically something that the Fisher‐Price team was aware of when designing the product (Pilarz
11/09/20 testimony p. 65) and thus avoided including shoulder straps. Many standards’ requirements
(e.g., the toy standard and the play yard standard) define what the hazardous lengths of available loose
strings/cords are. The Rock ‘n Play Sleeper restraint did not include any hazardous lengths of strap and
did not pose an entanglement hazard.

Opinions
Based on the information and materials reviewed and my education, training, and experience, it is my
opinion to a reasonable degree of regulatory and scientific certainty that:

1. Fisher‐Price exercised systematic, responsible principles in designing the Rock ‘n Play Sleeper,



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which ensured the product was safe for its intended uses. Fisher‐Price’s design/review team included
highly experienced individuals, who are keenly aware of hazards, including asphyxia hazards, to avoid
in infant products, and who are thoroughly familiar with existing safety standards that apply to
infants’ products. The team also included Fisher‐Price’s in‐house child development experts.

2. The Rock ‘n Play Sleeper does not present an inherent defect due to the angle of incline. Products
with inclines from 0° to 45° have been used safely for decades and published literature demonstrates
that inclined surfaces can improve respiratory function in infants. The incline of the product is not a
defect, nor does it present a risk of positional asphyxia or oxygen desaturation.

3. Including a restraint in the Rock ‘n Play Sleeper was appropriate and was intended to keep the
occupant from slouching down, falling out, or pushing out the head end of the product. Non‐use of the
restraint does not make the product unsafe (although it can expose the infant to hazards to which she
otherwise would not be exposed if the restraint is properly used). Any injury risk associated with the
non‐use of the restraint would need to be evaluated on a case‐by‐case basis. Had the restraint been
properly secured in this case, as the warnings mandate, that would have eliminated both the known fall
hazard and any hazard associated with rollover.

4. The Rock ‘n Play Sleeper is not at odds with AAP safe sleep guidelines. At the time of the original
marketing of the product, when it fell under and complied with the ASTM bassinet standard, it was
considered a recommended sleep product such as a “crib, bassinet, or portable crib/play yard that
conforms to the safety standards of CPSC and ASTM…” (2011 AAP Policy Statement, SIDS and Other
Sleep‐Related Infant Deaths: Expansion of Recommendations for a Safe Infant Sleeping Environment,
Recommendation 2a).

5. As of May, 2015, with the promulgation of F3118‐15, inclined sleepers had their own safety standards
and continued to be recognized as safe products for infant sleep, including overnight and unsupervised
sleep.

6. The warnings accompanying the Rock ‘n Play Sleeper were clear, unambiguous, and conspicuous as
defined by ASTM and adequate to inform about known hazards and foreseeable consumer behaviors
and misuses that introduce hazards to the sleep environment.

7. The Rock ‘n Play Sleeper, when used as intended and as instructions and warnings dictated, was safe



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for prolonged/overnight sleep, did not present an inherent rollover or asphyxiation hazard, and was
neither defective nor unreasonably dangerous.

8. The parents’ failure to follow the warnings and instructions led to their placing Zoey, an 8 ½ month
old unintended user, unrestrained in the product for overnight sleep. Zoey’s motor skill level far
exceeded all the developmental milestones noted on the warning label and made her too developed to
be able to use the product safely.

9. Placing Zoey for overnight sleep in the Rock ‘n Play Sleeper, given her developmental milestones, and
failing to secure the restraint system was not reasonably foreseeable to Fisher‐Price. This unforeseeable
and unreasonable misuse of the product was the underlying cause of the alleged event.

10. The cause of Zoey’s death remains unknown. Her position did not result in occlusion or obstruction
of her face, nose or mouth. There was no demonstrable evidence that the Rock ‘n Play Sleeper was
causally related to Zoey’s death.

11. There is no evidence of defective material, design, or manufacturing in the Rock ‘n Play Sleeper,
including the subject Sleeper used by Zoey Olson. Neither the Rock ‘n Play Sleeper, nor any action or
inaction on the part of Fisher‐Price and Mattel related to this product, caused the alleged injuries to the
Plaintiff.

12. The Voluntary Recall by Fisher‐Price of the Rock ‘n Play Sleeper was timely and appropriate and is
not evidence that the product was defective or unreasonably dangerous.

13. Based on my work experience with Section 15(b) activities while on the staff of the CPSC, I am
confident that had the CPSC determined, prior to Zoey’s death, that the product contained a defect that
created a substantial risk of injury, it would have taken regulatory action.

Summary and Conclusions
Manufacturers have an obligation to design products that are reasonably safe and consumers have an
obligation to follow product instructions and warnings. For a variety of reasons (product age, product
integrity, consumer behavior, introduction of other hazards, etc.) no product can be 100% safe at all
times. Even products covered by mandatory standards (e.g., cribs) as well as products covered by
voluntary standards (e.g., toy chests) still are associated with reported injuries and deaths. These
incidents do not necessarily render these products defective.

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Fisher‐Price undertook a systematic process to develop the Rock ‘n Play Sleeper which included, among
other things, safety reviews, in‐home consumer testing, and a medical/biomechanical consultation. Mr.
Olson and Ms. Courkamp repeatedly placed Zoey unrestrained in a product that was not appropriate for
her age and developmental status. Consumer misuse of products is beyond the control of manufacturers
and the introduction of hazards because of such misuse must be considered as potentially causal or
contributory to resulting injuries and deaths.

Exhibits
I may use any of the following exhibits as a summary or in support of all of my opinions: (1) any of the
materials, or excerpts therefrom, identified in this report and attachments, including the materials
considered list; (2) excerpts from scientific articles or learned treatises; (3) demonstrative models; (4)
exhibits used by Plaintiffs’ experts, or other witnesses; (5) Plaintiffs’ medical records; and (6) any exhibit
used in or identified at any deposition taken in this litigation.




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            EXHIBIT A
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                                      Dorothy A. Drago, MA, MPH
                                        Product Safety Consultant


11Brookside Ave.                                                                      Phone/Fax 508-591-7427
Plymouth, MA 02360                                                                          Cell 781-504-9996
USA                                                                       e-mail Dotty@DragoExpertServices.com


Experience
       May, 1987 to present: Self-employed, dba Drago Expert Services
               Product Safety: evaluate consumer product safety from design, use, and regulatory
               compliance points of view; provide guidance on age grading of children’s products;
               prepare hazard/injury analyses; research applicable standards and regulations; provide
               guidance on section 15 reporting to the Consumer Product Safety Commission; conduct
               tailored seminars; specialty in infants’ and children’s products.

                  Safety Communication: design, evaluate, and test safety labels, symbols, instructions,
                  and user manuals.

                  Litigation Support: provide guidance, reports and expert testimony.

         November, 1978 to May, 1987: U.S. Consumer Product Safety Commission
                 Senior analyst: evaluated consumer product safety through injury data analysis and
                 human factors analysis; provided key technical support to develop corrective actions to
                 mitigate product hazards.

         June, 1968 to November, 1978: Hospitals and Other Research Organizations
                  Research Assistant/Technical Information Specialist: conducted laboratory
                  experiments and literature research in the biomedical field; abstracted and indexed
                  biomedical literature; developed technical databases.


Formal Education
       Master of Public Health (injury prevention and control): Johns Hopkins University, 1995
       Master of Arts (education): The American University, 1973
       Bachelor of Arts (biology): Boston University, 1968


Continuing Education
       The National Action Plan for Child Injury Prevention. The Way Forward. Webinar May 18, 2012

         Children’s Advocacy Network. Child Health Policy Training Institute. (five-session advocacy
         training program, April-May, 2011, Children’s Hospital, Boston)

         Consumer Product Safety Law Seminar. (Feb 20, 2008: International Consumer Product Health and
         Safety Organization)

         National Playground Safety School. (Aug 3-6, 2005: National Program for Playground Safety, University
         of Northern Iowa)

         U.S. Consumer Product Safety Commission Seminar and Consumer Product Safety Law Seminar.
         (Feb 23, 2005: International Consumer Product Health and Safety Organization)
                                                                                                 1 of 5/October, 2020
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        U.S. Consumer Product Safety Commission Compliance Course. (Mar 2, 2004: International
        Consumer Product Health and Safety Organization)

        U.S. Consumer Product Safety Commission Compliance Course. (Feb 27, 2003: International
        Consumer Product Health and Safety Organization)

        U.S. Consumer Product Safety Commission Compliance Course and ABA Consumer Product
        Safety Law Seminar. (Feb 28, 2001: International Consumer Product Health and Safety Organization)

        U.S. Consumer Product Safety Commission Compliance Course and ABA Consumer Product
        Safety Law Seminar. (Feb 17, 1999: International Consumer Product Health and Safety Organization)

        Establishing and Implementing the Product Safety Program. (Aug 24-27, 1992: University of
        Wisconsin)

        Product Safety and Liability Prevention: The Role of Warnings. (Oct 27-28, 1986: University of
        Wisconsin)

Certifications
        SAFE Certified (Aug 2005-Aug 2009) through the National Program for Playground Safety,
        University of Northern Iowa

Awards and Recognition
      1980: Meritorious Service Award, US Consumer Product Safety Commission
      1998: Certificate of Recognition and Appreciation of Participation in Montgomery County,
      Maryland, Public Health Week activities
      2011: CPSC’s Chairman's Circle of Commendation Award to members of ASTM committee
      F15.18 (cribs, play pens, cradles, changing tables, and toddler beds)

Publications
       Drago, D.A. (2018) Gasoline-related injuries and fatalities in the United States, 1995-2014.
       International Journal of Injury Control and Safety Promotion.
       https://doi.org/10.1080/17457300.2018.1431947

        Drago, D. Drowning awareness month. Old Colony Memorial Newspaper, Vol. 192, No. 43, May
        28-30, 2014.
        http://plymouth.wickedlocal.com/article/20140529/OPINION/140527050/0/SEARCH

        Drago, Dorothy A, MPH. Living Safely, Aging Well: A Guide to Preventing Injuries at
        Home. Baltimore (MD): The Johns Hopkins University Press, 2013 (216 pages).

        Drago, D. A., May is drowning awareness month. Old Colony Memorial Newspaper, Vol.
        191, No. 37, May 8-10, 2013.
        http://www.wickedlocal.com/plymouth/opinion/opinion_columnists/x522267904/YOUR-VIEW-
        May-is-Drowning-Awareness-Month#axzz2SzxEn4q9

        Pollack-Nelson, C. and Drago, D.
        Hazards associated with common nursery products. In: K.D. Liller, Editor. Injury Prevention for
        Children and Adolescents. Research, Practice, and Advocacy, Second Edition. Washington:
        American Public Health Association, 2011. pp 83-119.

        Drago, D. A., Pool safety starts with prevention. Old Colony Memorial Newspaper, Vol. 189, No.
        55, July 6, 2011.
                                                                                             2 of 5/October, 2020
  Case 2:19-cv-02689-GMS Document 154-2 Filed 07/30/21 Page 49 of 70
        (http://www.wickedlocal.com/plymouth/opinion/opinion_columnists/x1672983843/YOUR-
        VIEW-Pool-safety-starts-with-prevention#axzz1RWncskEh)

        Drago, Dorothy, MA, MPH
        Safety—Is it just common sense? Pediatrics for Parents, Vol 25, No. 3-4, pp3-5, 2009
        [newsletter].

       Drago, Dorothy, MPH
       From Crib to Kindergarten: The Essential Child Safety Guide. Baltimore (MD): The Johns
       Hopkins University Press, 2007 (195 pages).

        Pollack-Nelson, C. and Drago, D.
        Hazards associated with common nursery products. In: K.D. Liller, Editor. Injury Prevention for
        Children and Adolescents. Research, Practice, and Advocacy. Washington: American Public Health
        Association, 2006. pp 65-90

        Drago DA, MA, MPH
        Kitchen Scalds and Thermal Burns in Children Five and Younger
        Pediatrics January 2005;115(1):10-16

        Pollack-Nelson C, PhD and Drago DA, MA, MPH
        Supervision of Children Aged Two through Six Years
        Injury Control and Safety Promotion 2002;9(2):121-126

        Drago DA, MA, MPH, Dannenberg AL, MD, MPH
        Infant Mechanical Suffocation Deaths in the United States, 1980-1997
        Pediatrics May 1999;103(5):e 59 (8 pages)

        Drago DA, MA, MPH, Winston FK, MD, PhD, Baker SP, MPH
        Clothing Drawstring Entrapment in Playground Slides and School Buses: Contributing Factors and
        Potential Interventions. Archives of Pediatrics & Adolescent Medicine January 1997;151:72-77


Articles Contributed to by Interview
        The Child-Safety Issue No One Wants to Talk About by Karen Weese. EverydayFamily.com.
        December, 2014

       Find the Hidden Drowning Hazards in Your Home by Kyla Steinkraus in Birmingham
       Parent, January, 2008, p23 (www.birminghamparent.com)

        Danger Zones by Kim Acosta in Fit Pregnancy, Vol. 14, No. 6, December/January 2008,
        p132-5

        Bunk Bed Safety by Kathy Cassel in Focus on your Child [newsletter], 2007

        Is Anything Safe these Days? by Genoa Sibold-Cohn in Tri-city Herald, Kennewick, WA,
        Oct 23, 2007, Section D, pages 1, 2.

        Summer Outdoor Hazards by Shannon McKelden at iParenting Media, 2007
        http://homestyletoday.com/articles/4780.php?wcat=137




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Presentations
       Drowning Prevention—Where Are We? Where Are We Headed? (September 25, 2013: A National
       Discussion of Injury Prevention, hosted by The Safety Institute; Hilton Hotel, Rosemont, IL)

        Drowning Prevention in the Young Child (March 27, 2013: Massachusetts Child Fatality Review
        Conference/Hoagland Pincus Conference Center, Shrewsbury, MA)

        Safe Sleeping Strategies to Reduce Infant Mechanical Suffocation (October, 2000: Holy Cross Hospital
        Maternal/Child Health Nursing Conference, College Park, MD)

        Unintentional Injury: Causes and Control (Parts I and II) (November, 1999: Safety Management
        Conference, College Park, MD)

        Safe Kids Panel Participant: Topic - Playground Safety (November, 1999: Safety Management
        Conference, College Park, MD)

        Infant and Toddler Safety - Environments and Practices (February, 1999: Montgomery County Maryland
        Adult Education Programs)

        Safety and Human Factors in Product Design (October, 1996: Binney & Smith, Inc., Easton, PA)

        Designing and Testing Safety Labels (October, 1996: DAEWOO Motor Co., Gaithersburg, MD)

        Structure and Authority of U.S. Consumer Product Safety Commission (for graduate course on
        “Safety Management” (February, 1993: University of West Virginia-Extension, Shepardstown, WV)

        Infant and Toddler Safety (October and November, 1992; February and April, 1991: Montgomery County
        Maryland Adult Education Programs)

        Product Recall: Prevention and Preparation (June, 1991: International Institute for Research, New York,
        NY)

        The Mechanics of Developing a Corporate Safety Policy (January, 1990: International Institute for
        Research, New York, NY)

        Procedures and Methods for Managing a Recall (January, 1990: International Institute for Research,
        New York, NY)

        Product Safety and Regulatory Compliance (February, 1989: Toys R Us, Paramus, NJ)

Peer Reviewer for Original Articles Submitted to:
       Pediatrics
       Social Science and Medicine

Professional Memberships
        American Public Health Association (1995-2015)
        International Consumer Product Health and Safety Organization (1993-2015)

Elected Office
        American National Standards Institute (ANSI) Board of Directors
        October, 1998 - December, 1999

Voluntary Committee Participation
       ASTM Committee F-15 on Consumer Products (1988- )
                                                                                               4 of 5/October, 2020
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        ANSI Consumer Interest Council (1989-1999)
        Montgomery County, Maryland, Safe Kids Campaign (1996-1999)
        Montgomery County, Maryland, Child Fatality Review Team (1998-1999)
        International Organization for Standardization (ISO), Joint Technical Advisory Group for the
        revision of Guide 50-Child safety and standards-General Guidelines (1996-2001)
        Massachusetts Prevent Injuries Now Network (http://www.masspinn.org/) (2009- )

Board of Directors (Vice President as of September 2012)
       Drowning Prevention Foundation, Benecia, CA
       September 2006-present

Other
        Participation by Invitation to Stakeholder Working Session for the National Action Plan for
        Childhood Injury Prevention hosted by CDC (Centers for Disease Control and Prevention),
        Atlanta, GA., Aug 23-24, 2010

        Pedsforparents Podcast #88, Nov 30, 2009 on Childhood Safety
        (As interviewed by Rich Sagall, MD (www.pedsforparents.com))

        TV appearance on Channel 5 (Boston) on Nov 24, 2009 to discuss the recall of Stork Craft
        Cribs

        Participation in Preventing Unsupervised Medication Ingestions and Overdoses in Children: A
        Stakeholder Meeting hosted by CDC (Centers for Disease Control and Prevention), Atlanta, GA.,
        Nov 13-14, 2008

        TV appearance on NECN on Nov 8, 2007 to discuss the recall of Aqua-Dots

        TV appearance on NECN’s Wired Segment, Aug 15, 2007, 4 to 5pm on the topic of toys recalled
        due to lead in paint and hazardous magnets




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            EXHIBIT B
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                                                 Mattel/Courkamp
                                           Dorothy Drago, M.A., M.P.H.
DESCRIPTION                                                         DATE   BATES (IF APPLICABLE)
COMPLAINT
Second Amended Complaint                                          08/07/19 N/A
DISCOVERY RESPONSES
Andrew Olson's Responses to Defendants' First                     12/10/19 N/A
Interrogatories
Kathleen Courkamp's Responses to Defendants' First                12/10/19 N/A
Interrogatories
Andrew Olson's Responses to Defendants' First Request for         12/10/19 N/A
Production of Documents
Kathleen Courkamp's Responses to Defendants' First                12/10/19 N/A
Request for Production of Documents
Plaintiff's 1st Suppl to Plaintiff's MIDP & Initial Disclosure    09/30/19 N/A
Statement
Plaintiff's 2nd Suppl to Plaintiff's MIDP & Initial Disclosure    11/11/19 N/A
Statement
Plaintiff's 3rd Suppl to Plaintiff's MIDP & Initial Disclosure    12/10/19 N/A
Statement
Plaintiff's 4th Suppl to Plaintiff's MIDP & Initial Disclosure    12/31/19 N/A
Statement
Plaintiff's 5th Suppl to Plaintiff's MIDP & Initial Disclosure    01/22/20 N/A
Statement
Plaintiff's 6th Suppl to Plaintiff's MIDP & Initial Disclosure    02/24/20 N/A
Statement
Plaintiff's 7th Suppl to Plaintiff's MIDP & Initial Disclosure    03/19/20 N/A
Statement
Plaintiff's 8th Suppl to Plaintiff's MIDP & Initial Disclosure    05/27/20 N/A
Statement
Plaintiff's 9th Suppl to Plaintiff's MIDP & Initial Disclosure    06/09/20 N/A
Statement
Plaintiff's 10th Suppl to Plaintiff's MIDP & Initial Disclosure   08/21/20 N/A
Statement
Plaintiff's 11th Suppl to Plaintiff's MIDP & Initial Disclosure   10/13/20 N/A
Statement
Plaintiff's 12th Suppl to Plaintiff's MIDP & Initial Disclosure   11/04/20 N/A
Statement
Plaintiff's 13th Suppl to Plaintiff's MIDP & Initial Disclosure   02/18/21 N/A
Statement
Plaintiff's 14th Suppl to Plaintiff's MIDP & Initial Disclosure   04/02/21 N/A
Statement
Plaintiff's 15th Suppl to Plaintiff's MIDP & Initial Disclosure   04/23/21 N/A
Statement
DEPOSITIONS WITH EXHIBITS
Swope, Farrel                                                     06/12/20 N/A
Ferenc, Michael                                                   08/12/20 N/A
Akey, Alan                                                        08/17/20 N/A
                                                                                                   Page 1
             Case 2:19-cv-02689-GMS Document 154-2 Filed 07/30/21 Page 54 of 70
                                          Mattel/Courkamp
                                      Dorothy Drago, M.A., M.P.H.
DESCRIPTION                                                    DATE    BATES (IF APPLICABLE)
Reyes, Michelle                                              08/17/20  N/A
O'Brien, Thomas                                              08/18/20  N/A
Williams, Torin                                              08/18/20  N/A
Courkamp, Kathleen                                           10/21/20  N/A
Olson, Andrew                                                10/22/20  N/A
Olson, Daniel                                                10/27/20  N/A
Pilarz, Catherine ‐ Vol I                                    11/09/20  N/A
Chapman, Linda                                               11/10/20  N/A
Steinwachs, Michael                                          11/11/20  N/A
Taft, Joel                                                   11/12/20  N/A
Lohiser, Lisa                                                11/13/20  N/A
Martin, Lynn                                                 11/13/20  N/A
Pilarz, Catherine ‐ Vol II                                   01/21/21  N/A
Pilarz, Catherine                                            01/21/21  N/A
Steinwachs, Michael                                          01/22/21  N/A
Deegear, Gary                                                03/12/21  N/A
Cleary, Kevin                                                04/29/21  N/A
RECORDS
ARUP Laboratories                                             Multiple ZO‐ARUPL‐MD‐000001 ‐ ZO‐
                                                                       ARUPL‐MD‐000004
Banner Thunderbird Medical Center                             Multiple ZO‐BTMC‐BD‐000001 ‐
                                                                       ZO‐BTMC‐BD‐000003
Banner Thunderbird Medical Center                             Multiple ZO‐BTMC‐MD‐000001 ‐ ZO‐
                                                                       BTMC‐MD‐000060
Care 7 Response Unit                                          Multiple ZO‐CARE7RU‐000001 ‐
                                                                       ZO‐CARE7RU‐000003
ClearPath Family Healthcare                                   Multiple ZO‐CLEARPFH‐000001 ‐ ZO‐
                                                                       CLEARPFH‐000041
Maricopa County Office of the Medical Examiner                Multiple ZO‐MCOME‐000001 ‐
                                                                       ZO‐MCOME‐000182
Maricopa County Office of the Medical Examiner ‐              Multiple ZO‐MCOME‐000183 ‐
Radiology CD                                                           ZO‐MCOME‐000183
Phoenix Baptist Hospital                                      Multiple ZO‐PBH‐CD‐000002 ‐
                                                                       ZO‐PBH‐CD‐000004
Phoenix Baptist Hospital                                      Multiple ZO‐PBH‐MD‐000001 ‐
                                                                       ZO‐PBH‐MD‐000113
Phoenix Baptist Hospital                                      Multiple ZO‐PBH‐RD‐000001 ‐
                                                                       ZO‐PBH‐RD‐000003
PerkinElmer Genetics, Inc.                                    Multiple ZO‐PGENETICS‐000001 ‐ ZO‐
                                                                       PGENETICS‐000004
Tempe Fire Department                                         Multiple ZO‐TEMPEFD‐000001 ‐
                                                                       ZO‐TEMPEFD‐000003
Tempe Police Department                                       Multiple ZO‐TEMPEPD‐000001 ‐
                                                                       ZO‐TEMPEPD‐000366

                                                                                            Page 2
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                                          Mattel/Courkamp
                                      Dorothy Drago, M.A., M.P.H.
DESCRIPTION                                                    DATE    BATES (IF APPLICABLE)
AmeriPath Colorado (Kathleen Courkamp)                        Multiple KCOURKAMP‐AMERIPC‐
                                                                       000001 ‐ KCOURKAMP‐
                                                                       AMERIPC‐000005
Cleary, Kevin W., DO (Kathleen Courkamp)                      Multiple KCOURKAMP‐KWCLEARY‐
                                                                       000001 ‐ KCOURKAMP‐
                                                                       KWCLEARY‐000040
LabCorp Denver (Kathleen Courkamp)                            Multiple KCOURKAMP‐LABCORPD‐
                                                                       000001 ‐ KCOURKAMP‐
                                                                       LABCORPD‐000007
Mountain View Medical Group (Kathleen Courkamp)               Multiple KCOURKAMP‐MVIEWMG‐
                                                                       00000001 ‐ KCOURKAMP‐
                                                                       MVIEWMG‐00000038
Phoenix Baptist Hospital (Kathleen Courkamp)                  Multiple KCOURKAMP‐PBH‐MD‐
                                                                       000001 ‐ KCOURKAMP‐PBH‐
                                                                       MD‐000271
Sonora‐Quest Laboratory (Kathleen Courkamp)                   Multiple KCOURKAMP‐SQL‐MD‐
                                                                       000001 ‐ KCOURKAMP‐SQL‐
                                                                       MD‐000005
PLAINTIFF PRODUCED RECORDS
Plaintiff Produced Records                                    Multiple COU_000001 ‐
                                                                       COU_000632
Plaintiff Produced Records                                    Multiple COU_000633 ‐
                                                                       COU_000656
Plaintiff Produced Records                                    Multiple COU_000657 ‐ COU_001023

Plaintiff Produced Records                               Multiple    COU_001024 ‐ COU_002106

Plaintiff Produced Records                               Multiple    COU_002107 ‐ COU_002321

Plaintiff Produced Records                               Multiple    COU_002322 ‐ COU_002555

Plaintiff Produced Records                               Multiple    COU_002556 ‐ COU_002617

Plaintiff Produced Records                               Multiple    COU_002618 ‐ COU_005515

Plaintiff Produced Records                               Multiple    COU_005516 ‐ COU_005804

Plaintiff Produced Records                               Multiple    COU_005805 ‐ COU_005816

Plaintiff Produced Records                               Multiple    COU_005817 ‐ COU_007084

Plaintiff Produced Records                               Multiple    COU_007085 ‐ COU_007314

Plaintiff Produced Records                               Multiple    COU_007315 ‐ COU_007417

                                                                                          Page 3
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                                      Mattel/Courkamp
                                  Dorothy Drago, M.A., M.P.H.
DESCRIPTION                                                DATE    BATES (IF APPLICABLE)
Plaintiff Produced Records                                Multiple COU_007418 ‐ COU_008154

Plaintiff Produced Records                            Multiple    COU_008155 ‐ COU_008770

Plaintiff Produced Records                            Multiple    COU_008780 ‐ COU_009015

DEFENDANTS PRODUCED RECORDS
Defense Produced Records                              Multiple    Mattel‐COU0000001 ‐
                                                                  Mattel‐COU0007541
Defense Produced Records                              Multiple    Mattel‐COU0007542 ‐
                                                                  Mattel‐COU0012398
Defense Produced Records                              Multiple    Mattel‐COU0012399 ‐
                                                                  Mattel‐COU0012416
Defense Produced Records                              Multiple    Mattel‐COU0012417 ‐
                                                                  Mattel‐COU0026866
Defense Produced Records                              Multiple    Mattel‐COU0026867 ‐
                                                                  Mattel‐COU0027931
Defense Produced Records                              Multiple    Mattel‐COU0027932 ‐
                                                                  Mattel‐COU0027945
Defense Produced Records                              Multiple    Mattel‐COU0027946 ‐
                                                                  Mattel‐COU0028502
Defense Produced Records                              Multiple    Mattel‐COU0028503 ‐
                                                                  Mattel‐COU0041253
Defense Produced Records                              Multiple    Mattel‐COU0041254 ‐
                                                                  Mattel‐COU0150020
Defense Produced Records                              Multiple    Mattel‐COU0150021 ‐
                                                                  Mattel‐COU0364543
Defense Produced Records                              Multiple    Mattel‐COU0364544 ‐
                                                                  Mattel‐COU0843171
Defense Produced Records                              Multiple    Mattel‐COU0843172 ‐
                                                                  Mattel‐COU0843261
Defense Produced Records                              Multiple    Mattel‐COU0843262 ‐
                                                                  Mattel‐COU1026679
Defense Produced Records                              Multiple    Mattel‐COU1026680 ‐
                                                                  Mattel‐COU1028457
Defense Produced Records                              Multiple    Mattel‐COU1028548 ‐
                                                                  Mattel‐COU1037247
Defense Produced Records                              Multiple    Mattel‐COU1037248 ‐
                                                                  Mattel‐COU1037249
Defense Produced Records                              Multiple    Mattel‐COU1037250 ‐
                                                                  Mattel‐COU1104993
Defense Produced Records                              Multiple    Mattel‐COU1104994 ‐
                                                                  Mattel‐COU1131925
Defense Produced Records                              Multiple    Mattel‐HC‐COU‐0000001 ‐
                                                                  Mattel‐HC‐COU‐0004604
                                                                                       Page 4
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                                    Mattel/Courkamp
                                Dorothy Drago, M.A., M.P.H.
DESCRIPTION                                              DATE    BATES (IF APPLICABLE)
Defense Produced Records                                Multiple Mattel‐DGR‐ COU‐0000001 ‐
                                                                 Mattel‐DGR‐ COU‐0000043

OTHER MATERIALS
Courkamp Product Case History Report (CHR)                   Multiple   Mattel‐COU0012410 ‐
                                                                        Mattel‐COU0012411
Courkamp Epidemiological Investigation Report (IDI)          Multiple   Mattel‐COU0012399 ‐
                                                                        Mattel‐COU0012409
Courkamp Matter Details Report (MDR)                         Multiple   Mattel‐COU0012412 ‐
                                                                        Mattel‐COU0012416
Rock ‘n Play Sleeper Model BHL58 Product Requirements        Multiple   Mattel‐COU0040365 ‐
Document                                                                Mattel‐COU0040402
Rock ‘n Play Sleeper Model BHL58 Production Start            Multiple   Mattel‐COU0843172 ‐
Summary Report                                                          Mattel‐COU0843245
Rock ‘n Play Sleeper Hazard Analyses and Safety Audit        Multiple   Mattel‐COU0003033 ‐
Reports                                                                 Mattel‐COU0003140
Rock ‘n Play Sleeper In‐Home Testing Reports                 Multiple   Mattel‐COU0000663 ‐
                                                                        Mattel‐COU0000980
Rock ‘n Play Sleeper In‐Home Testing Reports                 Mulitple   Mattel‐COU0002089 ‐
                                                                        Mattel‐COU0002148
Fox/Shaffer December 2017 Report                             12/15/17   Mattel‐COU0020114 ‐
                                                                        Mattel‐COU0020236
Fox/Shaffer Rock ‘n Play Sleeper Videos                      11/30/17   MATTEL‐COU‐0002209 ‐
                                                                        MATTEL‐COU‐0002215
Instruction Manual for Rock ‘n Play Model BHL58                N/A      MATTEL‐COU001786 ‐
                                                                        MATTEL‐COU001801
Exponent PowerPoint to CPSC                                  06/09/18   Mattel‐COU0018571 ‐
                                                                        Mattel‐COU0018636
Exponent PowerPoint to CPSC                                  04/06/18   Mattel‐COU0012443 ‐
                                                                        Mattel‐COU0012476
Photo of Sewn‐in Warning for Rock 'n Play Model BHL58          N/A      COU_005582 ‐ COU_005582

Photos of Subject Rock ‘n Play Model BHL58                     N/A      COU_005563 ‐ COU_005623

Arizona Child Fatality Review Program ‐ 22nd Annual report   11/15/15   N/A

Child Fatality Review Report for Maricopa County             07/06/05   N/A
EXPERT REPORTS INCLUDING EXHIBITS
Plaintiff's Fourteenth Supplement to Mandatory Initial       04/02/21   N/A
Discovery disclosing experts
Erik Christensen, M.D.'s Expert Report                       03/31/21   COU_008268 ‐ COU_008286

Michael Goodstein, M.D.'s Expert Report                      04/01/21   COU_008224 ‐ COU_008267


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                                           Mattel/Courkamp
                                       Dorothy Drago, M.A., M.P.H.
DESCRIPTION                                                     DATE   BATES (IF APPLICABLE)
William Singhose, Ph.D.'s Expert Report                       04/02/21 COU_008287 ‐ COU_008429

Alison Vredenburgh's Expert Report                              04/01/21   COU_008155 ‐ COU_008223

William Singhose, Ph.D.'s Updated CV                            04/15/21   COU_008794 ‐ COU_008836

Michael Goodstein, M.D.'s Updated CV                            04/15/21   COU_008837 ‐ COU_008857

Michael Goodstein, M.D.'s Index of Materials Reviewed           04/15/21   COU_008793 ‐ COU_008793

Alison Vredenburgh's Updated CV                                 04/15/21   COU_008858 ‐ COU_008876

Erik Christensen, M.D.'s Updated CV                             04/21/21   COU_008780 ‐ COU_008791

Erik Christensen, M.D.'s Updated Fee Schedule                   04/21/21   COU_008792 ‐ COU_008792

STANDARDS AND PROCEDURES
ASTM F2194‐07                                                    2007      N/A
ASTM F2194‐10                                                    2010      N/A
ASTM F2194‐12a                                                   2012      N/A
ASTM F3118‐15                                                    2015      N/A
ASTM F833                                                        N/A       N/A
ASTM F2088                                                       N/A       N/A
ASTM F2167‐15                                                    2015      N/A
ANSI Z535                                                        N/A       N/A
INCIDENT DATA REPORTS
Multiple Incident Report Data from Defense Production           Multiple   Multiple

MISCELLANEOUS
Exemplar Rock 'n Play Sleeper                                     N/A      N/A
Any and all articles I have published, any articles Plaintiff     N/A      N/A
relies upon or that any parties
plan to use at trial
Any and all demonstratives or videos to be used at trial          N/A      N/A

Any and all materials cited or referenced in my Expert            N/A      N/A
Report
Any and all materials cited or referenced in Plaintiff's          N/A      N/A
Expert Reports
Any and all expert reports, disclosures, and depositions and      N/A      N/A
exhibits thereto provided and taken in this case, including
but not limited to those referenced in Plaintiff's Expert
Disclosures and MIDP & Initial Disclosure Statements


                                                                                              Page 6
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                                             Mattel/Courkamp
                                        Dorothy Drago, M.A., M.P.H.
DESCRIPTION                                                      DATE  BATES BEGIN (IF
                                                                       APPLICABLE)
GUIDELINES AND POLICY STATEMENTS
AAP ‐ Positioning and SIDS                                        1992 N/A
AAP ‐ Positioning and SIDS: update                                1996 N/A
AAP ‐ Policy Statement ‐ Changing concepts of SIDS:               2000 N/A
implications for infant sleeping environment and sleep
position
AAP ‐ Policy Statement ‐ SIDS and other sleep related infant      2005 N/A
deaths: expansion of recommendations for a safe infant
sleeping environment
AAP ‐ Technical report ‐ SIDS and Other Sleep‐Related             2011 N/A
Infant Deaths: Expansion of Recommendations for a Safe
Infant Sleeping Environment
AAP ‐ The Changing Concept of Sudden Infant Death                 2011 N/A
Syndrome: Diagnostic Coding Shifts, Controversies
Regarding the Sleeping Environment and New Variables to
Consider in Reducing Risk
AAP ‐ Policy Statement ‐ SIDS and other sleep‐related infant      2016 N/A
deaths: updated 2016 recommendations for a safe infant
sleeping environment
AAP ‐ Technical Report ‐ SIDS and other sleep‐related infant      2016 N/A
deaths: updated 2016 recommendations for a safe infant
sleeping environment
CPSC
CPSC Physical & Mechanical, Flammability, Lead content            N/A  N/A
test requirements for CFR
CPSC Report: Injuries and Deaths Associated with Nursery          2013 N/A
Products Among Children Younger than Age Five

CPSC Report: Injuries and Deaths Associated with Nursery    2014      N/A
Products Among Children Younger than Age Five

CPSC Report: Injuries and Deaths Associated with Nursery    2015      N/A
Products Among Children Younger than Age Five

CPSC Report: Injuries and Deaths Associated with Nursery    2016      N/A
Products Among Children Younger than Age Five

CPSC Report: Injuries and Deaths Associated with Nursery    2017      N/A
Products Among Children Younger than Age Five

CPSC Report: Injuries and Deaths Associated with Nursery    2018      N/A
Products Among Children Younger than Age Five


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                                               Mattel/Courkamp
                                         Dorothy Drago, M.A., M.P.H.
DESCRIPTION                                                       DATE  BATES BEGIN (IF
                                                                        APPLICABLE)
Consumer Product Safety Commission, Safety Standard                2019 N/A
Proposed Rule 2019
CPSC Commisioned Study: "Biomechanical Analysis of                 2019 N/A
Inclined Sleep Products"
The October 16, 2019, Staff Briefing Package: Draft                2019 N/A
Supplemental Notice of Proposed Rulemaking for Infant
Sleep Products under the Danny Keysar Child Product Safety
Notification Act (incl. Mannen EM et al. Biomechanical
analysis of inclined sleep products ‐ Final Report)

Consumer Product Safety Commission. Safety standards for        2014   N/A
bedside sleepers. Fed Reg. 2014
LITERATURE
Bass JL and Bull M. Oxygen desaturation in healthy term         2002               N/A
infants in car safety seats
Bass, Oxygen Desaturation of Selected Term Infants in Car       1995               N/A
Seats
Beal SM, Moore L, Collett M et al. The danger of freely         1995               N/A
rocking cradles
Bull MJ and Stroup KB. Premature infants in car seats           1985               N/A
Carlo WA, Beoglos A, Siner ES et al. Neck and body position     1989               N/A
effects on pulmonary mechanism in infants
Centers for Disease Control and Prevention. Suffocation         2012               N/A
deaths associated with the use of infant sleep
positioners—United States
Cote, Sudden Infant Deaths in Sitting Devices                   2007               N/A
Dellagrammaticas HD, Kapetanakis J, Papadimitriou M,            1991               N/A
Kourakis G. Effect of body tilting on physiological functions
in stable very low birth weight neonates
Kornhauser, A comparison of Respiratory Patterns in             2009               N/A
Healthy Term Infants Placed in Car Safety Seats and Beds

Merchant JR, Worwa C, Porter S, Coleman JM et al.               2001               N/A
Respiratory instability of term and near‐term healthy
newborn infants in car safety seats
Parikh SN and Wilson L., Hazardous use of car seats outside     2010               N/A
the car in the United States
Pollack‐Nelson C., Fall and suffocation injuries associated     2000               N/A
with in‐home use of car seats and baby carriers

Reiterer F, Abbasi S, Bhutani VK. Influence of head‐neck        1994               N/A
posture on airflow and pulmonary mechanics in preterm
infants

                                                                                          Page 8
            Case 2:19-cv-02689-GMS Document 154-2 Filed 07/30/21 Page 61 of 70
                                            Mattel/Courkamp
                                      Dorothy Drago, M.A., M.P.H.
DESCRIPTION                                                    DATE  BATES BEGIN (IF
                                                                     APPLICABLE)
Royal College of Midwives Trust: Review of the Fisher‐Price     2011           N/A
Rock N' Play Sleeper Product R6070




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            EXHIBIT C
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                                         Drago Expert Services
                                       Consulting Services in Product Safety

                                    Dorothy A. Drago, MA, MPH

11 Brookside Ave.                                                                          Phone/Fax 508-591-7427
Plymouth, MA 02360                                                                               Cell 781-504-9996
USA                                                                            e-mail Dotty@DragoExpertServices.com




2020-2021 Fee/Payment Schedule

Fees:
Retainer: negotiable, based on start-up tasks
$400 per hour:
         Labor (except testimony)
         Travel (door-to-door)
$450 per hour:
         Deposition Testimony
         Court Testimony
Expenses:
         Direct costs
         Travel at Business or First Class
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            EXHIBIT D
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                                       Drago Expert Services
                                 Consulting Services in Product Safety

                                    Dorothy A. Drago, MA, MPH


11 Brookside Ave.                                                               Phone/Fax 508-591-7427
Plymouth, MA 02360                                                                    Cell 781-504-9996
USA                                                                e-mail Dotty@DragoExpertServices.com


Expert Testimony January, 2017 through Present

for the defense in Scepter in Grubbs v Scepter, In the Court of Common Pleas, State of South
Carolina, County of Barnwell, Case No. 2016-CP-06-00150. Deposition September 8, 2017

for the Defense in Evan Amber Overton and John Keenan Overton co-Administrators for the
Estate of Ezra Michael Overton, Deceased vs Fisher-Price, Inc. and Mattel, Inc. in the United
States District Court for the Eastern District of Virginia, Alexandria Division, Civil Action File
No. 1:19-cv-751. Deposition March 13, 2020
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   EXHIBIT 6
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000001




                     Vredenburgh & Associates, Inc.
             Human Factors, Safety, Biomec hanics and Org anizational Consulting

                                                                                          Mailing Address
                                                                                2588 El Camino Real, F353
                                                                                      Carlsbad, CA 92008
                                                                                           (442) 222-8289
                                                                                 avredenburgh@gmail.com
                                                                                        www.hfexpert.com

June 7, 2021

Kristin Schriner, Esq.
Goldberg & Osborne LLP
698 E. Wetmore Rd., Suite 200
Tucson, AZ 85705

Re:          Courkamp v. Fisher Price

At your request, I have prepared the following supplemental report with respect to the above-
referenced case which is based on an inspection of the exemplar Fisher Price Rock ‘n Play
inclined sleeper and a review of additional materials including:

      1. Drago ballot 4/29/19 for F15 (COU0839240-2)
      2. Email chain (COU-1149138)
      3. Rollover Hazard Rollover Visibility Test (COU-0843402)

                                        FINDINGS AND CONCLUSIONS

Proposed warnings have been discussed at FP. An employee email chain indicates that they
discussed the age limit for the product to be around 5 months; moreover, FP was aware prior to
Zoey’s death that the 25lb weight limit was “disingenuous” and should not have been part of the
warnings on a product meant for infants 0-5 months; “In my opinion, we should remove the
weight altogether.” Moreover, he acknowledged that “locating the developmental statements on
the PDP aids parents in their purchase decision.”150 As Dorothy Drago stated in her negative
comment, the “rollover hazard label must be conspicuous and permanent.”151

I have drafted 2 warnings for the RNP based on the additional material provided that, in
my opinion, would have provided critical information and have been conspicuous and
permanent.

      150
            COU-1149138
      151
            COU0839240; COU-0843402




                                                                                 COU_009016
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000002
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________________________________________________________________________________________________




I have drafted warnings (see Figures 1-4), based ASTM subcommittee draft warnings and on
new FP documents,152 and attached them to an exemplar RNP sleeper to depict a conspicuous
and permanent placement.




 • Stop using when baby reaches 5 months.

Figure 1. New label above head on reverse side of existing “warning.”




152
      COU0839240; COU-1149138




                                                                                       COU_009017
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   • Stop using when baby reaches
      5 months.

Figure 2. New belt label




                                                                                       COU_009018
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________________________________________________________________________________________________




Figures 3a and 3b. Exemplar RNP with labels


All of my opinions are expressed to a reasonable degree of professional certainty. I reserve the
right to modify the opinions in this report if additional information becomes available.


                                      Qualifications and Publications

My expertise is based upon a combination of education, original theoretical research, and
professional employment. Please refer to my enclosed Curriculum Vitae for detailed
qualifications and publications.

I appreciate the opportunity to assist you in this case and am available for any further work that
may be required.

Sincerely,


Alison Vredenburgh, Ph.D., CPE
Vredenburgh & Associates, Inc.

AV/ibz




                                                                                       COU_009019
